                Case 1:10-cv-03108-JEC Document 1-1 Filed 09/28/10 State
                                                                     PageCourt
                                                                           1 of of
                                                                                109Fulton County
                                                                              *** EFILED ***
                                                                      LexisNexis Transaction ID : 33246535
                                                                          Date : Sep 15 2010 12 :56PM
                                                                              Mark Harper, Clerk

                         IN THE STATE COURT OF FULTON COUNTY
                                   STATE OF GEORGIA

TASER INTERNATIONAL, ANC ., DAVID
BATCHELOR, NATALIE BATCHELOR,
DR. THOMAS C4LLENTINE, JUDITH
COLLENTINE, CHARLES FAIRES,
SANDRA FAIRES, MASAJI KELLY,
KELLY KELLEY, STEPHEN LISENBY,
PATRICIA LISENBY, RICHARD D .
ALMEROTH, CONSTANCE L.
ALMEROTH, JAMES BAKER, JR .,
ROBERT BAKER, WILLIAM BURNSIDE,
DONNA C . CASH, as Personal                              JURY TRIAL DEMANDED
Representative of the Estate of Dorothy A .
Connelly, SOUTHEAST EYE SURGERY
CLINIC, INC . EMPLOYEE PSP, JAMES
DUNAGIN, JR., EMILY DUNAGIN,                             CIVIL CASE NO .
RICHARD C . HASKELL, SUSAN                               2008-EV-004739-B
HASKELL, RICHARD C . HASKELL, JR .,
AMY HASKELL, MARY RICHARDSON,
PAMELA LEWIS, JANE MAJ,
MARGARET ROCHE, ROSEMARY
SCOTT, as Personal Representative of the
Estate of Chet Scott, JOHN SCOTT, PETER
SCOTT, MICHELLE SCOTT, MARY                                     SEVEN TH
ROSE STUCKER, MICHAEL BOYER,                                   AMENDED
PHILLIPS WALLER SMITH, PATRICK                                COMPLAI NT
W. SMITH, THOMAS P . SMITH,
DEANNA M . SMITH, BRUCE CULVER,
and DONNA T. CULVER,

                                          Plainti ffs,
V.


MORGAN STANLEY & CO ., INC .,
GOLDMAN, SACHS & CO ., GOLDMAN
SACHS EXECUTION & CLEARING, L .P .,
BEAR STEARNS & CO, INC., K/N/Ai JP
MORGAN SECURITIES, INC ., BEAR
STEARNS SECURITIES CORP ., I</N/A JP
MORGAN CLEARING CORP ., MERRILL
LYNCH, PIERCE, FENNER & SMITH,
INC ., DEUTSCHE BANK SECURITIES,

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INC ., CREDIT SUISSE SECURITIES
(USA) LLC, BANG OF AMERICA
SECURITIES, LLC, UBS SECURITIES,
LLC, MERRILL LYNCH PROFESSIONAL
CLEARING CORPORATION, and JOHN
DOES 2-10,

                                   Defendants




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                                         COMPLAINT

             Plaintiffs hereby file their Complaint against the above-named defendants,

and respectfully show the Court as follows:

                                 NATURE OF THE ACTION

                                                1.

             This is an action to recover damages incurred as a result of the defendants'

conspiracy to reap enormous profits by creating and trading in unauthorized,

artificial, and/or counterfeit shares' of the common stock of TASER International,

Inc. ("TASER"), which is publicly traded on the NASDAQ stock market .

                                                2.

             The defendants' unlawful conduct occurs in the context of illegal short

selling . In a typical legal short selling transaction, a party (known as a "short

seller") speculates that the price of a stock will decline, and seeks to profit from

that expected decline. To accomplish this, the short seller borrows shares of the

subject company's stock, and sells those borrowed shares on the open market at the

existing price . The short seller replaces the shares it borrowed by purchasing the

subject company's stock at a later date, and returning the borrowed shares back to

the lender . If the short seller's speculation that the stock price will decline is

correct, the short seller will earn as profit the difference between the higher price at


 The term "shares" here and throughout the Complaint refers to shares and/or
securities entitlements .

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which it sold the borrowed shares and the lower price at which it subsequently

replaced them . As an illustrative example, a short seller speculates that Stock X

is currently overvalued at S50/share, and expects the share price to decline . The

short seller (who doesn't own Stock X) borrows 100 shares of Stock X, and sells

those shares on the open market at the existing $50/share price, The borrowed

shares are delivered to the purchaser to complete the proper settlement of the short

sale. The stock price later falls to $45/share, at which time the short seller

purchases 100 shares of the stock to replace the shares the short seller borrowed .

As a result, the short seller earns $5/share, minus any fees, commissions and/ax

interest it incurred in completing the transaction .

                                             3.

            When conducted in accordance with securities and other laws and

regulations, short selling is a legal and accepted trading strategy . A critical

requirement of a lawful short sale is that the short seller first makes an affirmative

or reasonable determination that the shares are available and actually borrows or

otherwise obtains the stock it initially sells at the (hoped for) higher price . Indeed,

securities laws and regulations require a short seller to borrow the stock it sold and

deliver that borrowed stock within three days of the short sale (known as the

"settlement date") . The logic of these laws and regulations is simple - if the short




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seller never borrows or otherwise obtains the stock it sold short, the short seller

cannot convey authorized and issued stock to the purchaser .

                                                   4.

               In those instances in which a short seller fails to borrow or otherwise obtain

the stock it sold short, the purchaser is not precluded from completing the sale and

obtaining the purchased stock . Many settlements of securities trades today are

conducted electronically through a central depository, known as the Depository

Trust and Clearing Corporation {"DTCC"}Z, which accounts for the buying and

selling of securities through electronic book entries (rather than transfer of physical

stock certificates) . In a typical securities transaction, the DTCC reflects in its

electronic trading records that the buyer "owns" the shares, and that the seller

"owes" the purchased shares, which the seller is supposed to deliver by the three-

day settlement date. In a short sale, the DTCC still electronically transfers to the

buyer the stock it purchased even if the seller fails to deliver the shares it "owes"

to the DTCC (what is commonly referred to as a "fail") . If the short seller fails to

deliver the stock it owes to the DTCC, the short seller has, in effect, electronically

created and conveyed a new, artificial and/or counterfeit share of stock to the

buyer . That is, the DTCC credits the buyer with owning shares that did not



2 One of the primary subsidiaries the DT CC operates through is the National
Securities Clearing Corporation {NSCC) . Throughout this Complaint, "DTCC"
refers to both the DTCC and the NSCC .
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previously exist. The newly created shares are counterfeit shares because they

were not authorized or issued by the company or registered for sale by the

company with either the U . S . Securities and Exchange Commission ("SEC") or

the market on which the shares trade . Rather, they were created electronically by

the short seller through an illegal short sale of a stock that the short seller did not

own, deliver and/or intend on possessing for the settlement of the short safe .

                                                  5.

                The practice of selling a stock short without borrowing or otherwise

obtaining shares of that stock is commonly referred to as "naked short selling ."'

Naked short selling is illegal . Indeed, the SEC (which oversees federal securities

laws substantially similar to some of the state laws at issue here) has found that

naked short selling "can have a number of negative effects on the market ."4 In

November of 2007, former SEC Chairman Harvey Pitt stated : "Phantom shares

created by naked shorting are analogous to counterfeit money ."5 Similarly, during

a February 14, 2008 Senate Banking Committee Hearing, Senator Robert Bennett

noted that as a result of naked short selling it is becoming "Increasingly . . .easier in

this electronic world to give you counterfeit shares .,,        In a release dated March 17,



' As described below, naked short selling can manifest itself in different forms, and
include various actions and inactions that facilitate and conceal the conduct .
A www.sec . govlspod ight/keyregsho issue s .htm.
5 vvww .financialsense .comlfsnl2007lHarveyPitt .pdf.
6 www.cnbc .comlid/1584Q232?video=652216599&play=l .

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2008, the SEC stated that abusive naked short selling refers to "selling short

without having stock available for delivery and intentionally failing to deliver

stock within the standard three-day settlement cycle," and that such short selling

"as part of a manipulative scheme is always illegal under the general anti-fraud

provisions of the federal securities laws ."'

                                             6.

          Naked short selling damages rightful shareholders of a company because it

floods the market with artificial and/or counterfeit shares, thereby diluting the

value of each legitimate share of stock, diluting the shareholder's right to a fixed

percentage of ownership of the company and diluting the shareholder's voting

rights. As Chairman Pitt noted, these phantom shares of a company's stock

"devalue an issuer's shares to the detriment of investors and [legitimate] issuers

alike ."' Moreover, the SEC has recently issued a statement reiterating that naked

short sell ing is an unlawful , manipulative and damaging practice :

          The Securities and Exchange Commission today took several
          coordinated actions to strengthen investor protections against
          "naked "~ short selling . . . "These several actions today make it crystal
          clear that the SEC has zero tolerance for abusive naked short
          selling," said SEC Chairman Christopher Cox. . . . [1Vjaked shorting
          can allow manipulators to force prices down far lower than would
          be possible in legitimate short-selling conditions. "9



  SEC Release No, 34-57511, p . 3, File No . S7-08-08 (Mar. 17, 2008) .
~ www .financialsense .comifsnf2007/HarveyP]tt .pdf.
9 http :l/ftp .sec .gov/news/press/2008/2008-204 .htm.
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                                             7.

            For years, the defendants have damaged owners of TASER stock, including

the plaintiffs, by engaging in, facilitating or concealing naked short sale

transactions of TASER stock . This conduct constitutes a knowing and intentional

violation of Georgia's Securities Act and other laws .

                                              8.

            The defendants have used several illegal methods to engage in and conceal

their naked short selling, including, but not limited to : (a) conspiring to manipulate

the DTCC stock borrowing program as a means to conceal naked short sales ; (b)

failing to make legitimate or reasonable efforts to locate TASER shares or make

affirmative determinations prior to short selling them ; (c) entering into fictitious or

sham option contracts to conceal naked short sales ; (d) falsely marking short sales

as "long" on blue sheets, order tickets and other documents to conceal naked short

positions ; (e) failing to properly or adequately supervise compliance with the laws

regarding short sales, long fails, proxy voting, NASD 3370/UPC71/Reg .

SHOl15c3-3 and short sale and short interest position reporting ; (f) submitting fake

short interest and other reports to regulators ; (g) concealing fails through washed

and matched trades ; (h) transacting illegal stock sales off the primary market and

outside of the DTCC system to avoid NASDAQ oversight and to maintain

anonymity ; (1) concealing their activity through falsely reporting nonexistent assets


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of TASER on brokerage statements to investors as if these assets were

representative of real TASER shares ; (j) concealing their activity by issuing voting

material to shareholders with nonexistent assets of TASER that have no corporate

rights including the right to vote TASER shares ; (k) conspiring to not comply with

their responsibilities and duties to investigate and report suspicious transactions to

regulatory authorities ; (1) falsely representing that they either possessed the

borrowed securities or had located them for borrowing and delivery ; (m) giving

false "locates," i e.,, falsely representing to other defendants that they had shares

available for loan and delivery ; (n) receiving false "locates," i e.,, conspiring to

receive false representations from other defendants and non-party banks indicating

that they had shares available for loan and delivery knowing that they in fact did

not; (o) failing to buy-in failing securities ; (p) conspiring to refuse to require buy-

ins, i,e ., intentionally failing to enforce the requirement that other defendants

deliver shares to stock purchasers in naked short transactions ; (q) parking shares

with affiliates ; (r) facilitating, engaging in and/or permitting clients with a pattern

or history of fails or other improper conduct to continue short sales or related

transactions ; (s) engaging in short sales with existing failure to deliver positions or

when otherwise knowing that timely delivery would not occur ; (t) falsely claiming

that they or their clients are subject to the bona f de market maker or option market

maker exception ; (u) engaging in unlawful conversions, reverse conversions, flex


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options, exits or other transactions and (v) upon information and belief, making

false or misleading statements to regulators, the SEC and/or the Department of

Justice to conceal their conduct .10

             Securities regulators have sanctioned the defendants numerous times for

their role in the preceding illegal conduct . The following table lists some of the

sanctions assessed against the defendants :




      Brok e r       Resolution     Disciplinary Sanction Violation
                        Date          Entity Amount



Goldman              4 / 17 / 07   NYSE          $2,000,000 Violated § 10(a) of Exchange
Sacks                                                        Act and NYSE Rules 401 and
Execution &                                                  342 by marking shorts sales
Clearing, LT                                                 "long" and lending securities
                                                             without reasonable basis for
                                                             delivery ; effecting short sales on
                                                             minus and zero-minus ticks ; and
                                                             failing to supervise with respect
                                                             to short sales



Goldman               3/14/07      SEC           $1,000,000 Violated § 10 ( a) of Exchange
Sacks                                                        Act by selling short in advance


1° These are not the only mechanisms by which Defendants perpetrated and
concealed abusive naked short selling in the securities of TASER and other
publicly traded corporations . On May 6, 2010, the parties filed with the Court a
Stipulation and Order in which Plaintiffs outlined the components and types of
conduct they allege are involved with, relate to, or that constitute abusive naked
short selling . See Ex. A to May 6, 2010 Stipulation and Order . Plaintiffs hereby
fully incorporate that list herein as allegations in this Complaint and hereinafter
refer to these allegations as the "Conduct at Issue ."
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       Broker       Resolution Disciplinary Sanction Violation
                      Date Entity Amount

Execution &                                                    of secondary offerings in prime
Clearing, L .P .                                               broker accounts and by falsely
                                                               marking short sales "long"



Deutsche Bank 2/6/04           NYSE               $725,000     Violated NYSE Rule 421 by,
Securities Inc .                                               among other things, submitting
                                                               inaccurate short interest reports



Banc of             12/21/06   NYSE $500,000 Violated § 10(a) of the Exchange
America                                               Act and NYSE Rule 440B by
Specialist, Inc .                                     executing short sales on minus or
                                                      zero minus ticks (a tick refers to
                                                      a change in a stock's price ; e .g .,
                                                      a trade from a lower price to a
                                                      higher price is an "uptick")



Morgan              8f4/06 NYSE                   $500,000     Violated NYSE Rules 421 and
Stanley & Co .                                                 342(a) by submitting inaccurate
                                                               short position reports and failing
                                                               to supervise short interest
                                                               position reporting



Banc of             12/20/01 NYSE $290,000 Violated SEC Rule 15c3-3(e) by
America                                            recalling customer stock loans
Securities LLC                                     on Fridays and reinstating them
                                                   shortly thereafter, circumventing
                                                   the customer reserve account
                                                   requirement



Bear Stearns 4/30/07 AMEX                         X250,000 Violated AMEX Rules 30 and
                                                             320 by submitting inaccurate
                                                             reports of short interest positions
                                                             and failing to ensure compliance
                                                             with respect to short interest

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     Broker Resolution Disciplinary Sanction Violation
               Date Entity Amount

                                                           reporting



Bear Steams 2/20!07 NASD                      $250,OQ0 Violated NASD Rules 2110,
                                                         3010 and 3360 by submitting
                                                         inaccurate short interest position
                                                         data and failing to supervise
                                                         compliance with law regarding
                                                         short interest position reporting



Deutsche Bank 4/27/04       NASD $225,000 Violated NASD Rules 2110,
Securities Inc .                                 3010 and 3360 by submitting
                                                 inaccurate short interest report ;
                                                 incorrectly netting short interest
                                                 positions against longs ; and
                                                 failing to correct inaccurate
                                                 reporting



Credit Suisse    11/10/06   NASD              $110,000     Violated SEC Rules lOB-10 and
Securities                                                 604, and a variety of NASD
(USA) LLC                                                  Rules by, among other things,
                                                           executing short sales at or below
                                                           current inside bid that was below
                                                           the preceding inside bid



Banc of          2 /6/ 03   NASD       $80 , 000 Violated a variety of NASD
America                                              Rules by, among other things,
Securities LLC                                       failing to accurately report its
                                                     short positions



UBS              03/07 NASD $65,000 Submitted reports to OATS that
Securities,                                   contained inaccurate, incomplete
LLC                                           or improperly formatted data,
                                              and erroneously submitted
                                              Execution Reports it routed

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     Broker Resolution Disciplinary Sanction Violation
               Date Entity Amount

                                                              away for handling and/or
                                                              execution to OATS



Banc of            3/12/07   NASD                 $56,500     Violated SEC Rule 20B-10 and a
America                                                       variety of NASD Rules by,
Securities L L C                                              among other things, failing to
                                                              make affirmative determination
                                                              it could borrow securities and
                                                              failing to properly mark tickets
                                                              as short



Deutsche Bank 3/12/07        NASD                 $45,000 Violated NASD Rules 2110,
Securities Inc .                                             3010 and 3370 by failing to
                                                             make affirmative determination
                                                             that firm could receive or borrow
                                                             securities underlying short sale
                                                             for delivery by settlement date



Deutsche Bank 6/12/07        NASD $30,000 Violated SEC Rule 1013-10, Reg .
Securities Inc .                                   SHO, and NASD Rules 4632,
                                                   6130 and 6955 by, among other
                                                   things, incorrectly marking long
                                                   sales as short



Bear Steams 9/28/07 FINRA (NASD) $25,500                      Violated SEC Rule lOB-10 and
                                                              NASD Rules 2110, 2320, 3370
                                                              and 4632 by failing to make an
                                                              affirmative determination that
                                                              securities underlying short sale
                                                              could be delivered or borrowed



Deutsche Bank 9/9/05         NASD $15,000 Violated SEC Rule lOB-10 and
Securities Inc .                                  NASD Rules 3370 and 6130 by
                                                  failing to make affirmative

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       Broker Resolution Disciplinary Sanction Violation
                 Date Entity Amount

                                                           determination that firm could
                                                           receive or borrow securities
                                                           underlying short sale for delivery
                                                           by settlement date



Merrill Lynch     6/26/07    NASD $12,540 Violated SEC Rule 203(B)(3)
Professional                                      and NASD Rules 2110 and 3010
Clearing Corp .                                   by having a fail-to-deliver
                                                  position in a threshold security
                                                  for 13 consecutive settlement
                                                  days and failing to timely
                                                  allocate and close out its fail-to-
                                                  deliver position



Banc of 12!31107 FINRA (NASD) $12,000 Violated NASD Rules 3370 and
America 6230(c)(6) by failing to make
Securities LLC affirmative determination it
                                            would receive delivery of short
                                            sale securities



Deutsche Bank 4/27/04 NASD                     $10,000 Violated NASD Rules 21 10,
Securities Inc .                                          3010 and 3360 by submitting
                                                          inaccurate short interest position
                                                         report



UBS 10/04                   NASD               $10,000 Submitting inaccurate and/or
Securities,                                               incomplete OATS data
LLC



Morgan            3/13/07    ASE               S10,000      Violated ASE Rule 320 and
Stanley & Co .                                              §4(H) of ASE Constitution by
                                                            failing to make affirmative
                                                            determination prior to effecting
                                                            short sales and failing to ensure

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      Broker Resolution Disciplinary Sanction Violation
                Date Entity Amount

                                                               compliance that delivery be
                                                               made on the settlement date




             Most, if not all, of this misconduct also constitutes violations of the Georgia

Securities Act, and it also violates other securities laws, rules and regulations .

                                                 9.

             Because the defendants have significant financial and other incentives to

continue illegal short selling, the foregoing sanctions have failed to stop the

defendants' impermissible conduct .

                                                10.

             While the SEC's and other securities regulators' sanctions are themselves

strong evidence of defendants' violations of Georgia law, the defendants' own

share ownership records further reveal their knowing, willfully and repeated

participation in illegal naked short selling and their efforts to conceal that illegal

conduct.

             Because most securities trades are conducted electronically, actual paper

shares are not transferred between a buyer and seller, but are rather held by DTCC .

Because the DTCC's records reflect actual paper shares, and not electronic debits




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and credits, the number of shares held by the DTCC generally reflects the number

 of authorized shares of a security that exists in brokerage accounts .

             Beneficial share records, on the other hand, are maintained by prime

 brokers, like these defendants, and they reflect the number of shares the prime

 brokers claim to possess for themselves and their clients .

             A comparison of the DTCC inventory records and the beneficially owned

 shareholder records reveals that the defendants claim ownership of TASER stock

 far in excess of the actual number of real shares they possess at the DTCC . The

 following table shows various reporting dates where the defendants claimed

 beneficial ownership of vastly more shares of TASER than they had actual

 inventory at the DTCC :



            DTCC Inventory Position v Beneficial Ownership Claims
                                                Beneficial Difference in
                    Participant DTCC
        Date Name Position Ownership                         Shares Reported
                                                 Claims Held
October 24, 2007 Banc of America 126,442    269,528      143,086
January 15, 2008 Deutsche Bank 47,275 760,5 8 8          7 13,313
October 24, 2007 Goldman Sacks 3,475,453 5,039,387 1,563,934
  May 22, 2007 Merri f I Lynch   1,443,995 2,809,889 1,365,894
  May 22, 2007 Mor an Stanley    2,646,970 11,767,234   9,120,264
  May 22, 2007 UBS 1,417,489 2,129,815 712,326




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                                                 I 1.

               An analysis of the volume of the defendants' trades in TASER stock further

reveals their participation in unlawful naked short selling . In particular, the

volume of the defendants' trades in TASER stock reveals that they have traded

TASER stock far in excess of their actual inventory . For example, according to

available DTCC data from March to May of 2004 and October to December of

2004, Defendant UBS held directly and/or beneficially a position under 1 .5 million

TASER shares, yet UBS traded 243 million shares of the stock from March to

December 2004 (213 trading days) . The available DTCC dataa also shows that

during that time Defendant Merrill Lynch held directly and/or beneficially under 2

million TASER shares, yet one of Merrill Lynch's clients, Knight Securities,

traded 219 million shares of the stock from March to December 2004. This

volume of trading could not have been accomplished if the defendants had not

conspired to engage in, facilitate and profit from their naked short sales .

                                                 12 .

               Objective shareholder voting data demonstrates that the defendants'

unlawful selling of unregistered and unissued TASER shares flooded the market

with counterfeit shares . For example, at the time of TASER's 2005 annual vote,




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TASER had approximately 61 .1 million shares outstanding . Yet, approximately 82

million shares voted, an additional over-vote of approximately 20 million shares .

             The approximately 20 million over-voted shares is particularly compelling

given that, as of the voting date, there were approximately 17 .2 million TASER

shorted shares . Even if all of the TASER shares that were sold short were able to

vote, the total number of votes would still only be 78 .3 million (51 .1 million

shares outstanding + 17 .2 million short shares) . The fact that 82 million votes

were received - 3 .7 million more than the outstanding shares plus all shorted

shares - indicates that there were at least 3 .7 million shares (82 million - 78.3

million) that were undoubtedly counterfeit . Moreover, this overvote occurred after

many of the Defendants were already warned or sanctioned by regulators about the

illegality of overvoting .

                                              13.

             Defendants' unlawful conduct was not isolated to TASER, but rather was

part of a larger intentional and ongoing pattern and practice with respect to other

securities . Plaintiffs have set forth examples of additional unlawful conduct as to

TASER and other securities in response to Defendants' Second Interrogatories .

Because Defendants have insisted that the information remain confidential and

under seal, Plaintiffs cannot repeat it here .




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                                              14.

            The defendants' conspiracy to engage in, facilitate and profit from naked

short selling has caused and continues to cause owners of legitimate shares of

TASER stock, like plaintiffs, substantial harm . For one, by flooding the market

with counterfeit TASER shares, the defendants have diluted the value of each

legitimate share of TASER stock, including diluting the shareholder's right to a

fixed percentage ownership of the company and associated voting rights . As

former SEC Chairman Harvey Pitt recently articulated in discussing naked short

sales : "In a stock market corollary to Gresham's law, the more phantom shares of

an issuer's stock that circulate the more they drive out or devalue an issuer's shares

to the detriment of investors and issuers alike ." See

www .financialsense .com/fsn/2007/ HarveyPitt .pdf.

            In addition, defendants' conspiracy has harmed TASER by, among other

things, electronically issuing TASER treasury shares without authorization or

compensation to TASER, limiting TASER's access to capital, lowering its market

capitalization, damaging its perception in the market and making it more difficult

for the company to expand and/or merge .




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                                               15.

            Unlike the plaintiffs, who have suffered substantial harm as a result of the

defendants' unlawful conspiracy, the defendants have and continue to reap

enormous illicit profits in at least the following three ways :

            (a) Proprietary Trades --Upon information and belief, the defendants

short sell TASER stock in their own proprietary accounts, giving them a financial

interest in lowering the stock's price. One mechanism through which the

defendants can increase the likelihood and amount by which TASER stock will fall

(increasing the profits from their own short sales) is to dilute TASER stock through

the creation, loan and sale of counterfeit TASER stock, which artificially depresses

its price. The more TASER stock the defendants counterfeit, the greater the

likelihood the stock will drop and the greater the profits the defendants will reap

from their own short sales .

            Further, the defendants have received the proceeds of naked short sales

without giving up anything of value in exchange . Indeed, they may never be called

on to "cover" their short sales because they have not borrowed shares, and so long

as customers who have paid for these artificial and/or phantom shares receive

proxy and false account statements, they may not become aware of the fact that

they do not own real shares authorized and issued by TASER .


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          (b) Charging Fees for "Loans" of TASER stock - Typically, when an

investor sells TASER stock short, it borrows TASER stock from one of the

defendants to deliver by the settlement date . In a lawful transaction, the defendant

has or arranges to borrow TASER stock, loans that stock to or on behalf of the

short seller, and then charges the short seller a fee for the stock loan or for

permitting the stock sale . The defendants, however, often loan short sellers (either

directly or on their behalf) TASER stock that they neither own nor have any

intention of obtaining . The defendants simply inform the short seller that the loan

was made, even though the defendants deliver no actual stock (because they have

none). The defendants then charge the short seller fees for the "loan" of this

"stock," including transaction fees, short sale fees, negative rebates and/or interest,

thereby earning illicit profits .

          The defendants' ability to engage in these non-bona fide loans is the direct

result of their knowing and willful decision to violate securities regulations

requiring them to deliver shares by the settlement date . Indeed, if the defendants

abided by the regulations, the fact that they did not actually loan stock to the short

seller would be revealed on the settlement date when they are unable to deliver the

loaned stock on the short seller's behalf . However, since the defendants have

conspired to violate, inter olio, the possession and delivery requirement, the non

bona ode loans are concealed .


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              (c) Transaction Fees and Commissions - Another object of the

conspiracy is to earn profits through unlawful transaction fees, including fees

relating to purchases, sales, loans, options and conversions . For example, if a short

seller sought to make a short sale through one of the defendants, but that defendant

could not obtain TASER stock, the defendant would be unable to complete the

short sale (and thus would be unable to obtain and retain the fees and commissions

associated with that short sale). However, by ignoring the need for the defendant

to locate stock before it completes the short sale, the defendant can complete the

transaction, thereby obtaining fees and commissions . Similarly, by unlawfully

increasing the number of shares of TASER stock, the defendants have created

opportunities for further trades in that stock, earning them additional fees and

commissions . At the same time, the defendants are diluting TASER stock,

injuring legitimate shareholders .

              Defendants' motive to engage in illicit short selling to reap profits from

proprietary trades, interest on stock loans, and fees and commissions was not

limited to TASER , but was the part of a larger intentional and ongoing pattern and

practice with respect to other securities . Through the above mechanisms, and

others, the defendants have collectively reaped hundreds of millions of dollars, if

not billions, in illicit profits from unlawful trading in TASER and other stocks .




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                                                  1 6.


              For the reasons set forth in this Complaint, the plaintiffs are entitled to

damages for the injuries they have suffered as a result of the defendants' unlawful

conduct, and hereby bring this action for : (1) violations of the Georgia Racketeer

Influenced and Corrupt Organizations Act ("RICO"), O .C.G .A . §§ 16-14-1, et.

seq. ; (2) violations of the Georgia Securities Act ; (3) violations of the Georgia

Computer Systems Protection Act ; (4) conversion ; and (5) money had and

received .

                                  Parties, Jurisdiction and Venue

                                                   17 .

              TASER International Inc . ("TASER") is a business corporation organized

under the laws of Delaware with its principal place of business in Scottsdale,

Arizona.

                                                   18.

              Plaintiffs David Batchelor and Natalie Batchelor are individual citizens of

the State of Georgia, residing in Gwinnett County, Georgia and bring these claims

in their individual capacities.




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                                                  19.

               Plaintiffs Dr . Thomas Collentine and Judith Collentine are individual

citizens of the State of Georgia, residing in Cobb County, Georgia and bring these

claims in their individual capacities .

                                                  20.

               Plaintiffs Charles Faires and Sandra Fairer are individual citizens of the

State of Georgia, residing in Fulton County, Georgia and bring these claims in their

individual capacities.

                                                  21 .

               Plaintiffs Masaji Kelly and Kelly Kelley are individual citizens of the State

of Georgia, residing in Cobb County, Georgia and bring these claims in their

indi vidual capac ities .

                                                  22 .

               Plaintiffs Stephen Lisenby and Patricia Lisenby are individual citizens of the

State of Georgia, residing in Fulton County, Georgia and bring these claims in their

individual capacities .

                                                  23 .

               Plaintiffs Constance L . Almeroth and Richard D . Almeroth are individual

citizens of the State of North Carolina, residing in Wilkes County, North Carolina .


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Constance and Richard Almeroth are bringing suit in their respective capacities as

the trustees of the Richard D . Almeroth and Constance L . Almeroth Living Trust .

                                               24.

            Plaintiff James Baker, Jr. is an individual citizen of the State of Arizona,

residing in Maricopa County, Arizona and brings these claims in his individual

capacity .

                                               25 .

            Plaintiff Robert Baker is an individual citizen of the State of Florida,

residing in Broward County, Florida and brings these claims as the trustee for the

Robert M. Baker MD N . Broward Radiologists PA Employee Profit Sharing Plan

and M/P Pension Plan .

                                                26.

            Plaintiff William Burnside is an individual citizen of the State of Tennessee,

residing in Hamilton County, Tennessee and brings suit in his capacity as trustee

for the Kellie Len Burnside Irrevocable Trust, the Helen C . Burnside Irrevocable

Trust and on his own individual behalf.

                                                27 .

            Plaintiff Southeast Eye Surgery Clinic, Inc . PSP is a resident of McAlester,

Oklahoma. James Dunagin, Jr . is the trustee of Plaintiff Southeast Eye Surgery

Clinic, Inc . PSP .


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                                                 28.

              Plaintiff Donna C . Cash is the personal representative of the Estate of

Dorothy A . Connelly . The Estate of Dorothy A . Connelly is administered in

Charleston County, South Carolina . The Estate of Dorothy A . Connelly has

assumed the interests of the Estate of James Connelly .

                                                 29.

              Plaintiffs James Dunagin, Jr, and Emily Dunagin are individual citizens of

the State of Oklahoma residing in Pittsburg County, Oklahoma . Plaintiffs James

Dunagin, Jr . and Emily Dunagin bring suit in their capacity as trustees for the

James L . D un agin Jr. Trust and the Emily B . Dunagin Trust.

                                                 30 .

              Plaintiffs Richard C . Haskell and Susan Haskell are individual citizens of the

State of Illinois, residing in Cook County, Illinois and bring these claims in their

individual capacities.

                                                 31 .

              Plaintiff Richard C . Haskell, Jr. and Amy Haskell are individual citizens of

the State of Illinois, residing in Cook County, Illinois and bring these claims in

their individual capacities .

                                                 32.

              Plaintiff Mary Richardson is an individual citizen of the State of Illinois,


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residing in Cook County, Illinois and brings these claims in her individual

capacity .

                                                 33.

             Plaintiff Pamela Lewis is an individual citizen of the State of Ohio, residing

in Cuyahoga County, Ohio and brings these claims in her individual capacity .

                                                 34.

             Plaintiff Jane Maj is an individual citizen of the State of Illinois, residing in

Cook County, Illinois . Plaintiff Jane Maj brings these claims in her capacity as the

trustee for the Jane S . Maj Trust .

                                                 35.

             Plaintiff Margaret Roche is an individual citizen of the State of Ohio,

residing in Montgomery County, Ohio and brings these claims in her individual

capacity.

                                                 36.

             Plaintiff Rosemary Scott brings these claims in her capacity as the personal

representative of the Estate of Chet Scott . The Estate of Chet Scott is

administered in the district of Addison in Middlebury, Vermont .




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                                               37 .

            Plaintiff John Scott is an individual citizen of the State of New York,

residing in Rensselaer County, New York and brings these claims in his individual

capacity .

                                               38.

            Plaintiffs Peter Scott and Michelle Scott are individual citizens of the State

of New York, residing in Rensselaer County, New York and bring these claims in

their individual capacities .

                                               39 .

            Plaintiff Mary Rose Stucker is an individual citizen of the State of Illinois,

residing in Cook County, Illinois and brings these claims in her individual

capacity .

                                               40 .

            Plaintiff Michael Boyer is an individual citizen of the State of Oklahoma,

residing in Pittsburg County, Oklahoma and brings these claims in his individual

capacity .




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                                                 41 .

              Plaintiff Phillips W . Smith is an individual citizen of the State of Arizona

residing in Maricopa County, Arizona and brings suit in his capacity as the trustee

of the Phillips W . Smith Family Trust .

                                                 42 .

              Plaintiff Patrick W . Smith is an individual citizen of the State of Arizona,

residing in Maricopa County, Arizona and brings suit in his individual capacity .

                                                 43 .

              Plaintiffs Thomas P . Smith and Deanna M . Smith are individual citizens of

the State of Arizona residing in Maricopa County, Arizona and bring suit in their

individual capacities .

                                                 44 .

              Plaintiffs Bruce and Donna T . Culver are individual citizens of the State of

California residing in Ventura County, California, and bring suit in their individual

capacities .

                                                 45 .

              Defendant Morgan Stanley & Co ., Inc . ("Morgan Stanley") is a business

corporation organized under the laws of Delaware with its principal place of

business in New York , New York . Morgan Stanley is registered to conduct


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business in Georgia, maintains an office in Fulton County, Georgia, and may be

served with process through its registered agent, CT Corporation System, 1201

Peachtree St., NE, Atlanta, Georgia . Morgan Stanley admits that during the

relevant time period it has : (a) maintained an office in Georgia ; (b) conducted

business in Georgia ; (c) purchased or sold TASER common stock on behalf of or

as an agent of a person in Georgia; (d) borrowed TASER common stock from a

person in Georgia ; (e) sent or received correspondence regarding TASER stock or

options from its Atlanta, Georgia office ; (f) requested, facilitated or engaged in

short sales of TASER common stock from its Atlanta, Georgia office ; (g) sent or

received information pertaining to a short sale of TASER common stock from its

Atlanta, Georgia office ; (h) received fees, commissions, interest or other movies

from a person in Georgia in connection with the purchase or sale of TASER

common stock ; (i) purchased or sold TASER common stock from its Atlanta,

Georgia office ; (k) wired or otherwise electronically transferred money to Georgia

relating to the purchase, sale, loan or borrowing of TASER common stock or

options ; (1) received a wire or other electronic transfer of money from Georgia

relating to the purchase, sale, loan or borrowing of TASER common stock or

options ; (m) borrowed TASER stock from a person in Georgia ; and (n) sent

correspondence relating to TASER to the SEC's Atlanta, Georgia office .




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                                          46.

            Defendants Goldman Sachs & Co . and Goldman Sachs Execution &

Clearing, LP ("Goldman Sachs") are business corporations organized under the

laws of Delaware with its principal place of business in New York, New York .

Goldman Sachs is registered to conduct business in Georgia, conducts business in

or that impacts Georgia and/or maintains an office in Fulton County, Georgia .

Indeed, Goldman Sachs admits that during the relevant time period it has : (a)

maintained an office in Georgia ; (b) conducted business in Georgia ; (c) purchased

or sold TASER common stock on behalf of or as an agent of a person in Georgia ;

(d) received fees, commissions, interest or other monies from a person in Georgia

in connection with the purchase or sale of TASER common stock ; (e) wired or

otherwise electronically transferred money to Georgia relating to the purchase,

sale, loan or borrowing of TASER common stock or options ; (f) received a wire or

other electronic transfer of money from Georgia relating to the purchase, sale, loan

or borrowing of TASER common stock or options ; and (g) sent account statements

or other documents reflecting the purchase, sale or ownership of TASER common

stock or options to Atlanta, Georgia .




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                                                  47 .

               Defendants Bear Steams & Co ., Inc . (k/n/a J.P . Morgan Securities, Inc .) and

Bear Steams Securities Corp . (k/n/a JP Morgan Clearing Corp .) (collectively,

"Bear Steams") are business organized under the laws of Delaware with their

principal places of business in New York, New York . Bear Steams is registered to

conduct business in Georgia, conducts business in or that impacts Georgia and/or

maintains an office in Fulton County, Georgia . Indeed, Bear Steams admits that

during the relevant time period it has : (a) maintained an office in Georgia ; (b)

conducted business in Georgia ; (c) purchased or sold TASER common stock on

behalf of or as an agent of a person in Georgia ; (d) sent or received correspondence

regarding TASER common stock or options from its Atlanta, Georgia office ; (e)

sent or receiving information pertaining to a short sale of TASER common stock

from its Atlanta, Georgia office ; (f) requested, facilitated or engaged in short sales

of TASER common stock from its Atlanta, Georgia office ; (g) received fees,

commissions, interest or other movies from a person in Georgia in connection with

the purchase or sale of TASER common stock and (h) purchaser or sold TASER

common stock or options as an agent or broker for a person in Georgia .




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                                               48 .

              Defendant Merrill Lynch, Pierce, Fenner & Smith, Inc . ("Merrill Lynch") is

a business corporation organized under the laws of Delaware with its principal

place of business in New York, New York, Merrill Lynch is registered to conduct

business in Georgia, maintains an office in Fulton County, Georgia, and may be

served with process through its registered agent, CT Corporation System, 1201

Peachtree St., NE, Atlanta, Georgia . Merrill Lynch admits that during the relevant

time period it has : (a) maintained an office in Georgia ; (b) conducted business in

Georgia; (c) purchased or sold TASER common stock on behalf of or as an agent

of a person in Georgia ; (d) received fees, commissions, interest or other movies

from a person in Georgia in connection with the purchase or sale of TASER

common stock ; (e) purchased or sold TASER common stock from its Atlanta,

Georgia office ; (f) wired or otherwise electronically transferred money to Georgia

relating to the purchase, sale, loan or borrowing of TASER common stock or

options; (g) received a wire or other electronic transfer of money from Georgia

relating to the purchase, sale, loan or borrowing of TASER common stock or

options ; (h) sent account statements or other documents reflecting the purchase,

sale or ownership of TASER common stock or options to Atlanta, Georgia ; (i)




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submitted a TASER proxy vote on behalf or as broker for a person in Georgia and

(j) sent correspondence relating to TASER to the SEC's Atlanta, Georgia office .

                                             49 .

            Defendant Merrill Lynch Professional Clearing Corporation ("ML

Professional Clearing Corp .") is a business corporation organized under the laws of

Delaware with its principal place of business in Chicago, Illinois . ML Professional

Clearing Corp . wholly owns and operates the PAX Division of ML Professional

Clearing Corp, which provides clearing services for ML Clearing Corp and is

expressly included in this Complaint through the claims against ML Professional

Clearing Corp . ML Professional Clearing Corp . is registered to conduct business

in Georgia, conducts business in or that impacts Georgia, and/or maintains an

office in Fulton County, Georgia .

                                             50 .

            Defendant Deutsche Bank Securities, Inc . ("Deutsche Bank") is a busi ness

corporation organized under the laws of Delaware with its principal place of

business in New York, New York . Deutsche Bank is registered to conduct business

in Georgia, maintains an office in Fulton County, Georgia, and may be served with

process through its registered agent, CT Corporation System, 1201 Peachtree St .,

NE, Atlanta, Georgia . Deutsche Bank admits that during the relevant time period

it has : (a) maintained an office in Georgia ; (b) conducted business in Georgia ; (c)


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purchased or sold TASER common stock on behalf of or as an agent of a person in

Georgia ; (d) sent account statements or other documents reflecting the purchase,

sale or ownership of T ASER stock to persons in Georgia ; (e) sent account

statements or other documents reflecting the borrowing, loaning or voting of

TASER common stock to Georgia ; (f) submitted a TASER proxy vote on behalf of

or as broker for a person in Georgia ; (g) sent correspondence to the SEC's Atlanta,

Georgia office relating to TASER .

                                              51 .

             Defendant Credit Suisse Securities (USA) LLC ("Credit Suisse") is a

business corporation organized under the laws of Delaware with its principal place

of business in New York, New York . Credit Suisse is registered to conduct

business in Georgia, conducts business in or that impacts Georgia and/or maintains

an office in Fulton County, Georgia . Indeed, Credit Suisse admits that during the

relevant time period it has : (a) maintained an office in Georgia ; (b) conducted

business in Georgia ; (c) purchased or sold TASER common stock on behalf of or

as an agent of a person in Georgia ; (d) borrowed securities traded on NASDAQ

from a person in Georgia ; (e) sent or received correspondence regarding TASER

common stock from its Atlanta, Georgia office ; (0 facilitated or engaged in short

sales of TASER common stock from its Atlanta, Georgia office ; (g) sent or

received information pertaining to a short of TASER common stock from its


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Atlanta, Georgia office ; (h) received a wire or other electronic transfer of money

from Georgia relating to the purchase, sale, loan or borrowing of TASER common

stock or options ; (i) sent account statements or other documents reflecting the

purchase, sale or ownership of TASER common stock or TASER options to

Atlanta, Georgia and (g) sent correspondence to the SEC's Atlanta, Georgia office

relating to TASER .

                                            52.

             Defendant Bane of America Securities, LLC ("Banc of America") is a

business corporation organized under the laws of Delaware with its principal place

of business in San Francisco, California . Banc of America is registered to conduct

business in Georgia, maintains an office in Fulton County, Georgia, and may be

served with process through its registered agent, CT Corporation System, 1201

Peachtree St., NE, Atlanta, Georgia . Banc of America admits that during the

relevant time period it has : (a) maintained an office in Georgia ; (b) conducted

business in Georgia ; (c) purchased or sold TASER common stock on behalf of or

as an agent of a person in Georgia ; (d) received fees, commissions, interest or other

movies from a person in Georgia in connection with the purchase or sale of

TASER common stock and (e) received a wire or other electronic transfer of

money from Georgia relating to the purchase, sale, loan or borrowing of TASER

common stock or options; (f) sent account statements or other documents reflecting


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the purchase, sale or ownership of TASER common stock or TASER options to

Atlanta, Georgia and (g) sent correspondence to the SEC's Atlanta, Georgia office

relating to TASER .

                                            53.

            Defendant UBS Securities, LLC ("UBS") is a business corporation

organized under the laws of Delaware with its principal place of business in

Stamford, Connecticut . UBS is registered to conduct business in Georgia,

maintains an office in Fulton County, Georgia, and may be served with process

through its registered agent, Corporation Service Company, 40 Technology

Parkway South, #300, Norcross, Georgia 30092 . UBS admits that during the

relevant time period it has : (a) maintained an office in Georgia ; (b) conducted

business in Georgia ; (c) purchased or sold TASER common stock on behalf of or

as an agent of a pe rson in Georgia; (d) received fees, co mmi ssions, interest or other

monies from a person in Georgia in connection with the purchase or sale of

TASER common stock and (e) received a wire or other electronic transfer of

money from Georgia relating to the purchase, sale, loan or borrowing of TASER

common stock or options.




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                                                  54.

              Defendants John Does 2-10 are affiliaties, subsidiaries, parents or other

entities related to these defendants who engaged in the conduct set forth

throughout this Complaint .

                                                   55 .

              On information and belief, each of the defendants currently conducts

business in the state of Georgia . On further information and belief, the defendants

have either : (1) initiated short sale transactions of TASER stock in the state of

Georgia; (2) engaged in a short sale of TASER stock in Georgia ; (3) received

funds from the short sale of TASER stock in Georgia ; or (4) had customers in

Georgia who requested that the defendants participate in short sales of TASER

stock on their behalf.

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              Jurisdiction is proper in this Court pursuant to Ga . Const . art . VI, § 3, ¶ 1

and O.C.G.A . § 15-7-4 .

                                                   57 .

              Venue is proper in this Court pursuant to Ga . Const . art . VI, § 2, ¶ 6 .




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                        STATEMENT OF THE RELEVANT FACTS

                     A. Background of the Parties and Conspirators

                                                58.

             Each of the plaintiffs currently owns, or has during the relevant time frame

owned, TASER stock . Each of the plaintiffs purchased and sold TASER stock

during the time period at issue in this Complaint . When the plaintiffs sold their

TASER stock, it was sold at an artificially and unlawfully depressed price as a

result of the defendants' unlawful conduct as more fully described herein .

                                                59 .

             Plaintiffs' allegations relate to conduct that occurred in or affected persons

in Georgia in at least the following ways : (1) many of the plaintiffs purchased

TASER stock through brokers in Georgia ; (2) many of the plaintiffs suffered

damage in Georgia ; (3) many of the plaintiffs live in Georgia ; (4) unlawful naked

short sale transactions were initiated in Georgia or were undertaken on behalf of

Georgia residents ; (5) on information and belief, artificial and/oz counterfeit

TASER shares were bought, sold or delivered in Georgia ; (6) defendants sent

money to or received money from Georgia in connection with the purchase, sale,

loan or other transfer of TASER stock ; (7) documents relating to TASER were sent

to or received from Georgia ; (8) TASER proxy votes were sent from Georgia or on


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behalf of Georgia residents and (9) many of the defendants' Atlanta, Georgia

offices were involved in the purchase, sale, loan or borrowing of TASER stock .

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             The defendants are "clearing firms," "prime brokers" and purported "market

makers" who, among other things : (a) loan or purport to loan stock, including

TASER stock, to their clients and others to complete short sales ; (b) engage in and

facilitate trades of securities, including TASER stock, on behalf of their clients ; (c)

trade stock for their own proprietary accounts ; (d) purport to be bona fide market

makers, including in TASER stock ; (e) conduct market making transactions in

options, including options involving TASER stock ; and (f) purport to give and/or

receive "locates" to and/or from other defendants in order to engage in and

facilitate short sales of securities, including TASER stock .

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             The Depository Trust Company ("DTCC") and its subsidiary, the National

Securities Clearing Corporation ("NSCC"), are relevant non-parties .

             The DTCC is an electronic system for the clearance and settlement of

securities transactions . It was created in 1974 for, inter alia, "prompt and accurate




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clearance and settlement of securities transactions" as "necessary for the protection

of investors ."'

                Today, the DTCC is the country's only national clearance and settlement

system. Since 1999, the DTCC has controlled virtually all of the U .S . trade

clearance and settlement processing of real stock issued by corporations that is

held in brokerage accounts .

                                                  62 .

                In 1981, further efforts were made to increase the speed of the settlement

trade process through the advent of the DTCC stock borrow program . That

program created a massive lending pool of shares from brokers' client margin

accounts (i e.,, brokerage accounts in which the broker lends the customer cash to

purchase securities, which are securitized by both securities and cash), which

fac il itat ed sec uriti es trades as fo ll ows : If a prime broker is unable to de li ver stock

it sold within the three-day settlement date, the prime broker could obtain shares to



 ~ Section 17(a) of the Securities Exchange Act states : "New data processing and
communications techniques create the opportunity for more efficient, effective, and
safe procedures for clearance and settlement . The prompt and accurate clearance
and settlement of securities transactions, including the transfer of record
ownership and the safeguarding of securities and funds related thereto, are
necessary for the protection of investors and persons facilitating transactions by
and acting on behalf of investors . The linking of all clearance and settlement
facilities and the development of uniform standards and procedures for clearance
and settlement will reduce unnecessary costs and increase the protection of
investors and persons facilitating transactions by and acting on behalf of
investors ." (emphasis added) .
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provide to the purchaser from the DTCC borrowing pool, allowing the trade to

clear . When operated properly, the prime broker who sold the stock will replace

the shares it owes to the DTCC . But, as described in detail throughout this

Complaint, the defendants have conspired to violate the requirement that they

actually deliver shares they owe to the DTCC .

                                            63.

            The defendants, as owners of the DTCC, have significant involvement and

communication with, as well as influence over, the DTCC. For example, the

defendants act as "DTCC member clearing firms," meaning that they are informed

by the DTCC of the clearing and settling of trades and purportedly they assure that

paperwork associated with a securities transaction is accurate . Further, all of the

defendants are part owners of the DTCC, with the largest firms owning the greatest

share of the DTCC . The defendants also have involvement with and influence

over the DTCC's Board of Directors . For example, in 2006, Diane L. Schueneman

of Merrill Lynch & Co . and Randolph Cowen of Goldman Sachs were members of

the DTCC's board of directors . Thus, the defendants directly communicate with

and have influence over the DTCC regarding securities transaction settlements,

including short sales . Defendants are also able to process transactions outside of

the DTCC to, inter olio, avoid the requirement that they deliver shares that

otherwise would be owed .


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                                                64 .

              Collectively, the defendants control approximately 78% of the prime

brokerage market in the United States in terms of aggregate client assets . Upon

information and belief, (i) Morgan Stanley is the largest prime broker, with 23 .1%

of the prime brokerage market, (ii) Bear Steams is the second largest prime broker,

with 20.9% of the prime brokerage market, (iii) Goldman Sacks is the third largest

prime broker, with 16 .5% of the prime brokerage market, (iv) UBS is the fourth

largest prime broker, with 5.9% of the prime brokerage market, (v) Merrill Lynch

is the fifth largest prime broker, with 4 .6% of the prime brokerage market, (vi)

Deutsche Bank is the eighth largest prime broker, with 2 .5% of the prime

brokerage market, (vii) Credit Suisse is the ninth largest prime broker, with 2 .2%

of the prime brokerage market and (vii) Bane of America is the tenth largest prime

broker, with 2 .0% of the prime brokerage market .

                 B. The Mec hanics o f S hort Sa l es and Naked Short Sa les

                                                65 .

              The defendants, as prime brokers, play an integral role in short sale

securities transactions . Among other things, the defendants are responsible for

locating shares of the shorted stock, borrowing the shorted stock, and delivering

the shares by the three-day settlement date.




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                                                66.

             As discussed in the Nature of the Case section above, in a typical short

selling transaction, a short seller speculates that the price of a stock will decline,

and seeks to profit from that expected decline . To accomplish this, the short seller

borrows shares of the subject company's stock, and sells those borrowed shares on

the open market at the existing price . The short seller purchases the subject

company's stock at a later date, and provides those purchased shares to the lender .

If the short seller's speculation that the stock price will decline is correct, the short

seller will earn as profit the difference between the higher price it sold its shares

and the lower price it subsequently purchased them .

                                                67.

             Typically, a client seeking to engage in a short sale will contact one of the

defendants and request to short sell, for example, TASER stock . Because the short

seller is required under securities regulations to obtain and deliver the TASER

stock it is selling short by the settlement date, the short seller will often borrow the

TASER stock from one of the defendants . In a lawful transaction, the defendant

will loan the short seller (either directly to the seller or on its behalf) TASER

shares that it obtains from its own inventory or other prime brokers, and then the

short seller will convey those borrowed shares through the DTCC to complete the


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short sale transaction . The defendants will charge the short seller a fee and interest

for the loan of the TASER stock . The selling broker is required to mark the order

ticket as a short sale and document the source of the securities that will be

borrowed to complete settlement of the short sale transaction .

                                                 68 .

              Like all stock transactions, short sale transactions should be cleared and

settled through the DTCC . The DTCC becomes the contractual counter party

(middleman) to each side of the transactions . In other words, when a short seller

sells TASER stock to a purchaser, the seller does not owe the stock to the

purchaser . Rather, the seller owes the shares it sold to the DTCC, and the

purchaser is owed the shares it purchased by the DTCC, the counter party .

                                                 69 .

              Significantly, purportedly to protect bona fide purchasers, the DTCC

provides the purchaser an electronic entry for the TASER stock it purchased, with

its full value and rights, regardless of whether the short seller delivers TASER

shares to the DTCC If the short seller does not deliver TASER shares, the

transaction is marked by the DTCC as "open," awaiting delivery in the DTCC

system from the short seller, and the short sale is a naked short sale, which is not

backed by assets of TASER .




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                                                70 .

               When a purchaser requests delivery of shares and the DTCC cannot deliver

because it has insufficient real shares of a security, then the DTCC records the

shares as "fails to deliver" or "fail" in the DTCC system .

                                                71 .

               This practice is evidenced in TASER stock when, for example, in mid

December 2004, long-term reported short sales (i.e., short interest') had amassed

to 30 million shares but fails to deliver were reported to be only 8 .1 million shares .

In other words, 22 million undelivered shares were awaiting delivery within the

DTCC system and 9 . 1 million shares could not be delivered by the DTCC .

                                                72 .

               When a "fail" occurs in the DTCC system, the short seller remains obligated

to settle it by delivering the shares to the DTCC . But, in many cases, the

defendants simply leave the "fail" open indefinitely, a direct result of the

defendants' conspiracy to not require each other to settle delivery failures .




'2 NASDAQ provides the following definition of short interest : "The total number
of shares of a security that have been sold short by customers and securities firms
that have not been repurchased to settle short positions in the market ."
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                                               73 .

             In those instances where a short seller fails to deliver shares to the DTCC

(i, e., engages in a naked short sale), it has, in effect, created and sold unauthorized,

artificial and/or counterfeit shares.

                                               74 .

             By way of illustration using TASER stock: Short Seller X sells 100 shares

of TASER stock to Purchaser Y, but never delivers those s hares to the DTCC.

Because Purchaser Y receives electronic evidence of the transfer of the shares from

the DTCC regardless of whether Short Seller X actually delivers them, Purchaser

Y has received electronic evidence of the transfer of shares that, prior to the

transaction, did not exist . These shares have never been borrowed and cannot

reasonably be "bought in" from a marketplace that is overly short sold, because

there are not sufficient TASER shares available to loan or purchase to complete

delivery . Despite this fact, the 100 artificial and/or counterfeit TASER shares

provided to Purchaser Y through an electronic entry in Purchaser Y's account

remain tradable in the market, diluting the value of the authorized shares actually

issued by TASER . Indeed, these 100 artificial and/or counterfeit shares can be re-

loaned and counterfeited continuously by the defendant brokers through the

DTCC's electronic booking system, increasing the harm to TASER investors . This


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is evidenced by this SEC statement : "At times, the amount of fails to deliver may

be greater thann the total public float . ,13

                                                75 .

             Defendants' failures to deliver and/or receive the securities of TASER and

other publicly traded corporations were not limited to DTCC failures, but also

included ex-clearing fails outside of the DTCC system and other trades, including,

but not limited to, conversions, reverse conversions, flips and flex options .

             C. Naked S hort Selline is Harmful and Illegal

                                                76 .

             It is unlawful and illegal for a prime broker to engage in naked short selling .

Indeed, the SEC, which regulates federal securities laws that are substantially

similar to Georgia's Securities Act, has explicitly stated "selling stock short and

failing to deliver shares at the time of settlement with the purpose of driving down

the security's price" constitutes a "manipulative activity" that "in general, would

violate various securities laws ." See www. sec.gov/spotlight/kevregsho issues. him ;

see also SEC Release No . 34-.57511, p. 3, File No . 57-0$-08 (Mar . 17, 2008) .

Prior to the adoption of Regulation SHO by the SEC in 2005, defendants' naked

short selling activities described herein violated, inter alia, Uniform Practice Code



E3 Federal Register, Vol. 68, No. 215, Thursday, November 6, 2003, Proposed
Rules Securities and Exchange Commission 17 CFR Parts 240 and 242 [Release
No. 34-48704; File No . S7-23-03] RIN 3235-AJOO Short Sales.
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Sec t ion 7 1 , 17 C.F .R . 240 . 156-3, 1 5 U. S .C . § 78j , Rule l Ob-5 and NASD Ru les

3310, 3370, 11830 . Since 2005, defendants' naked short selling activities

described herein violated those rules and Regulation SHO .

                                               77 .

            Naked short selling is unlawful and illegal for numerous reasons, as recently

articulated by the SEC :

            . . .we are concerned that large and persistent fails to deliver may have a
            negative effect on the market in these securities. For example, large and
            persistent fails to deliver may deprive shareholders of the benefits of
            ownership, such as voting and lending . In addition, where a seller o f
            securities fails to deliver securities on trade settlement date, in effect the
            seller unilaterally converts a securities contract (which should settle within
            the standard 3-day settlement period) into an undated futures-type contract,
            to which the buyer may not have agreed, or that may have been priced
            differently . Moreover, sellers that fail to deliver securities on trade
            settlement date may enjoy fewer restrictions than if they were required to
            deliver the securities within a reasonable period of time, and such sellers
            may attempt to use this additional freedom to engage in trading activities
            that deliberately and improperly depress the price of a security .

                   In addition, many issuers and investors continue to express concern
            about extended fails to deliver in connection with "naked" short selling . To
            the extent that large and persistent fails to deliver might be indicative of
            manipulative "naked" short selling, which could be used as a tool to drive
            down a company's stock price, fails to deliver may undermine the
            confidence of investors . These investors, in turn, may be reluctant to
            commit capital to an issuer they believe to be subject to such manipulative
            conduct. In addition, issuers may believe that they have suffered
            unwarranted reputational damage due to investors' negative perceptions
            regarding large and persistent fails to deliver . Any unwarranted reputational
            damage caused by large and persistent fails to deliver might have an adverse
            impact on the security's price .



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                                               78.

             One of the primary harms caused by naked short selling is the dilution of a

company's legitimate, authorized stock . These new shares dilute the value of

authorized shares (including both the monetary value and voting rights), depressing

the stock's price .

D. Mech anisms Through Whic h The Defendan ts Engage In and/or Co nceal
                        Naked Short Sales

                                               79 .

             The defendants have and continue to knowingly, intentionally and willfully

violate securities and other laws and regulations in connection with short sales of

TASER stock and other securities . The defendants' unlawful and illegal conduct

includes, but is not limited to, the following :

             (i)   Naked Short-Selling On Behalf Of Clients, - The defendants have

knowingly and intentionally accepted and facilitated short sales of publicly-traded

securities, including TASER stock, for their clients at times when the defendants

neither possessed nor intended to obtain through borrowing sufficient stock to loan

to those clients for delivery by the settlement date . The defendants' decision to

engage in and facilitate short sales while knowing and intending that they would

not deliver that stock by the settlement date is a willful violation of, inter alia,

securities laws and regulations .

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             (ii) Naked Short Selling In the Defendants' Proprietary Accounts - The

defendants maintain their own proprietary accounts, from which they conduct

stock transactions on their own behalf, Upon information and belief, the

defendants have engaged in short sales of the securities of numerous publicly

traded corporations, including TASER, at times during which they neither

possessed nor intended to obtain sufficient stock to deliver by the settlement date

(if ever) . The defendants have thus knowingly, willfully and intentionally sold

short "without having stock available for delivery and intentionally failing to

deliver stock within the standard three day settlement cycle," in willful violation of

securities and other laws and regulations .

             (iii)   Giving and Receivin g False Locates - When a customer or prime

    broker seeks to sell a stock short, the prime broker or customer must first

    determine whether there are shares available for borrow . When it does not itself

    have shares available for borrow, the prime broker must ask other prime brokers

    whether they have shares available to lend and deliver . When one prime broker

    affirmatively states that it has shares available to lend and deliver, that is referred

    to as giving a "locate ." The defendants have conspired to give and receive false

    "locates" that they knew would not likely deliver the located shares if requested .

    As an example, defendants improperly provided locates for TASER securities on

    the same dates for which they were failing to deliver TASER securities (i. e.,


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     defendants were saying they had TASER securities available for lend to facilitate

     additional short selling at the same time they did not even have sufficient

     TASER securities to cover past sales) . As another example, defendants claimed

     to receive locates from other defendants (or non-party banks) on dates when

     those other defendants (or non-party banks) did not possess sufficient TASER

     securities to cover the alleged locate . Defendants also accepted locates they

     knew were unreliable .

               (iv) Perm itting Indefin i te Del i very Fans - When a short seller fa ns to

deliver stock by the settlement date, the DTCC system indicates that a "fail"

occurred . Under DTCC rules, only the purchaser (or the defendant prime broker

representing it) has the ability to force the short seller to deliver the shares and

clear out the "fail" position . The defendants, however, have conspired and agreed

not to require each other to clear out "fails" ; instead permitting "fail" transactions

to remain unfulfilled indefinitely . This practice facilitates naked short sales by

eliminating the need for a defendant to actually locate TASER stock before loaning

or selling TASER stock in conjunction with a short sale .

               (v) Providing Artificial/Phantom Shares for Loans of TASER's Stock to

Cover Short Sales - The defendants have purported to loan TASER stock (and

other companies' stock) to their clients and others to complete short sales at times

when defendants neither possessed, nor had any intention of obtaining, sufficient


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authorized stock to cover those loans . The defendants' ability to engage in these

phantom stock loans is the direct result of their knowing and willful decision to

violate securities laws and regulations requiring them to deliver shares by the

settlement date . Indeed, if the defendants abided by the securities laws and

regulations, the fact that they did not actually loan stock to the short seller would

be revealed on the settlement date, when they are unable to deliver the loaned stock

on the short seller's behalf However, since the defendants have conspired to

violate the delivery requirement, the phantom stock loans are concealed .

             (vi)   False Documentation - In an effort to conceal th eir naked short sales,

the defendants have created false documentation regarding their trading, loaning

and ownership of TASER stock . For example, defendants are required to

complete an order ticket with respect to each securities transaction they engage in .

These order tickets, inter alia, permit securities regulators to determine the amount

of short sales the defendant prime broker is engaging in with respect to a particular

stock, and to whom the short sales are made . The defendant brokers, however,

have knowingly and . intentionally mismarked order tickets to make transactions

appear as "long" sales when, in fact, they are short sales . Indeed, as stated above,

the defendants have repeatedly been fined by securities regulators for that conduct .

Defendants have also provided inaccurate and false blue sheets to regulators which

conceals their unlawful conduct .


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               (vii ) Concealment by Trading Off the Market - To conceal their naked

short sales and failures to deliver, the defendants, as executing and/or clearing

brokers, have engaged in significant amounts of trading of TASER shares off of

the NASDAQ market where TASER is listed . Off market sales are made through

various third markets and electronic communication networks, "which provide

anonymity to traders wishing to conceal their identity from the market" . 14 This

conduct facilitates naked short sales by allowing defendants to circumvent

oversight from the NASDAQ stock market and permitting them to engage in naked

short se lli ng anonymously ."

                                                 80.

               In addition to the unlawful and illegal conduct cited above, the defendants

have also conspired to illegally utilize the DTCC's stock borrow program to

facilitate naked short selling as follows :




'a United States District Court Southern District Of New York, Securities and
Exchange Commission, Plaintiff, v . Rhino Advisors, Inc . and Thomas Badian .
15 Plaintiffs have also described the "Conduct at Issue" in this case in a stipulation
filed on May 6, 2010 and in their interrogatory responses . See Ex. A to May 6,
2010 Stipulation and Order . Plaintiffs fully incorporate herein and allege that each
of the activities identified in those documents was used by each Defendant to
engage in, facilitate, conceal or otherwise effectuate the unlawful conduct and
conspiracy .

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                      Short Sale Through the DTCC Stock Borrow Program


Purchaser Y seeks to
purchase $1 million of
    TASER stock


                                     The DTCC Stock Borrow
                                    Program loans the stock to
 Prime Broker Y short
                                    Prime Broker Y from Prime         Prime Broker Z
sells the TASER shares to
                                    Broker Z who borrows from
  Purchaser Y - Prime
                                         Shareholder Z who
Broker Y borrows shares
                                    beneficially owns $1 million
     from the DTCC
                                       worth of TASER stock            Shareholder Z




 Purch ase r Y 's Brokera ge     S hareholder Z 's Brokerage
Stat e ment shows $ 1 million     S tat e m e nt shows $1 million
   wort h of TASER s t ock worth of   TASE R stock




                 A . Purchaser Y seeks to purchase I mi l l i on dollars in TASER


                       stock, and thus places a purchase order with Defendant Prime

                       Broker Y to purchase that stock .

                 B     Defendant Prime Broker Y does not own I million dollars worth of

                       TASER and short sells the shares to Purchaser Y without first locating

                       actual TASER shares to borrow and deliver to Purchaser Y to

                       complete the short sale . Defendant Prime Broker Y informs




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                   Purchaser Y that its purchase has been made, and collects I million

                   dollars from Purchaser Y .

              C . Because Defendant Prime Broker Y did not and cannot locate actual

                   TASER shares before making the sale to Purchaser Y, it cannot

                    deliver the 1 million dollars in TASER shares on the settlement date .

              D. Defendant Prime Broker Y then seeks to obtain the shares through the

                    DTCC's stock borrow program .

              E . When the request is made, the DTCC automated stock borrow

                    program sees that in its borrowing pool, Prime Broker Z, holds 1

                    million dollars in TASER shares for Shareholder Z .

              F. The DTCC then takes 1 million dollars in collateral from Defendant

                    Prime Broker Y and "temporarily" borrows the I million dollars in

                    TASER shares from Prime Broker Z (who is holding Shareholder Z's

                    shares), lending those shares to Defendant Prime Broker Y to deliver

                    to Purchaser Y .

              G . Although the DTCC has lent Shareholder Z's TASER shares to

                    Purchaser Y, Shareholder Z's brokerage account statement will

                    continue to show that it holds I million dollars in TASER shares .

              H . Until Defendant Prime Broker Y delivers TASER shares to the DTCC

                    to return to Prime Broker Z, both Purchaser Y and Shareholder Z


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                   account statements show that they hold 1 million dollars in TASER

                   stock in their broker's beneficial trading records .' 6 In reality,

                   however, 2 million dollars worth of TASER stock show in brokerage

                   account statements but only I million dollars worth of real TASER

                   stock actually exists .

              I . If Defendant Prime Broker Y never delivers the TASER shares to the

                   DTCC, then both Purchaser Y and Shareholder Z will perpetually

                   show ownership of 1 million dollars in TASER shares in the

                   defendant prime brokers' beneficial trading records . Thus, both

                   Purchaser Y and Shareholder Z will each have the ability to trade and

                   vote with respect to 1 million dollars of TASER stock . As a result, 1

                   million dollars in TASER shares will have been counterfeited .




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  The DTCC inventory reported to TASER, however, show that only Purchaser Y
owns the shares since the DTCC lent Prime Broker Z's shares to Purchaser Y . For
this reason, DTCC records do not accurately reflect true share ownership and two
holders now own the same share .
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                 Multiplying the Same I Million Dollars Worth of TASER Stock

                Purchaser Y and Prime Broker Y now possess the rights of the $1
                  million worth of TASER stock and the ability to lend the shares



Purchaser W seeks to
purchase $1 million of
    TASER stock




Prim e B ro ker W short sells          Th e DT CC Stoc k Bor row
   the TASER shares to                P ro g r a m loans the stock to            Prime Broker Y
   Purchaser W - Prime                Prime Broker W from Prime
 Broker W borrows shares              Broker Y who borrows from
      from the DTCC                              Purchaser Y
                                                                                   Pur c h aser Y




Purchaser W 's Brok e rag e                                              Purc h aser Y's Brokerage
S tat em e nt sh ows $I million         $1 Million worth of             S t a te m e nt shows $1 million
    worth of TASER stock                   TASER stock                       worth of TASER stock



                                   Shareholder Z's Brokerage
                                     Statement still shows $ I
                                     million worth of TASER
                                              stock



                   The ownership rights are transferred to Purchaser W and Prime
                 Broker W . They can now relend the same $1 million of TASER stock




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   E. Evidence of the Defendants'_Con§j iracyTo Engage In, Facilitate and
                     Profit From Naked Short Sellin g

                                                 81 .

              As discussed in detail below, there is significant evidence that the

defendants have engaged and continue to engage in unlawful naked short selling of

TASER stock and other securities, including, but not limited to : (i) the securities

regulators repeatedly sanctioning the defendants for illegal conduct in connection

with short selling of scores of companies' securities ; (ii) the excessive number of

"fails" of delivery of TASER stock ; (iii) the exchange trading records which reveal

that the defendants have traded TASER stock far in .excess of their inventory or

available shares ; (iv) the beneficial trading records purporting to show defendants'

own TASER stock far in excess of their inventory ; and (v) the over voting of

TASER shares at TASER annual meetings . Additional evidence is set forth in

Plaintiffs' interrogatory responses .

                                                 82 .

The Defendants Have Repeatedly Been Sanctioned By Sec urities Reg ulators -

As discussed above, securities regulators have repeatedly fined defendants for

conduct that would be illegal under the Georgia Securities Act and other Georgia

laws . To cite several examples, securities regulators have sanctioned defendants

for: (i) failing to ensure compliance with the requirement that delivery be made on

the settlement date ; (ii) incorrectly netting short interest positions against longs ;

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(iii submitting inaccurate trade tickets ; (iv) failing to supervise compliance with

laws regarding Reg . SHO, Rule 156-3, blue sheet reporting, locates/affirmative

determinations and reporting .

                                               83 .

Excessive "Fails" Of Delivery Of TASER Stock - Over the last approximately

five years, the number of legitimate, outstanding shares of TASER stock has been

as follows:

D ate                            Number of S hares        Reaso n for Change in
                                 Outstandin g             Outstanding Sha res
      January 14, 2 004                4,224,9 00           Issued by company

     Febru ary 27, 2004                 14,066 ,688           3 for i stock split

          April 30, 2004                28,321 ,612           2 for 1 stock split

    Nove mber 30, 2004                  59,296,388            2 for I stock split

        January 1, 2008              Approximately
                                       60,000,000


                                               84 .

               The SEC has passed and implemented regulations to address the harm

caused by abusive naked short selling . Under SEC regulations, a stock is

considered a "threshold security" that is vulnerable to manipulation from short

sales if there are "fails" (i .e ., instances in which a seller did not deliver the stock to

the DTC by the three-day settlement date) of 10,000 shares and greater than 0.5%


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of its outstanding shares for five consecutive days . Using the numbers above, the

number of delivery fails that would have placed TASER on the threshold list are

approximately as follows :

                      Date        Number of                       Calculation
                                     Shares to Make           (outstanding shares
                                      Threshold List                x 0.005)

 Jan. 14, 2004 to Feb . 11 , 2004          21,125 shares       4,224,900 x 0.005


Feb. 1 2, 2004 to April 29 , 2004          70,333 s hare s 14,066,688 x .0.005


April 30, 2004 to Nov . 29, 2004 141,608 shares                28,321,612 x 0.005


       Nov. 30, 2004 to present 300,000 shares 6 0,000 ,000 x 0 .005




                                                85 .

               During the relevant time frame, the number of "fails" of TASER stock well

exceeded the amount necessary to characterize TASER stock as a threshold

security vulnerable to manipulative short sales . As just some examples :




               Settlement Date    Aggregate Fails
                   4/5/2004          1,657,103
                   5/6/2004          1,772,792
                   8/3/2004          3,195,387
                  9/20/2004          5,490,327

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                     12/6/2004          8,102,052
                     1/26/2005          5,452,323
                     3/9/2005           2,462,688
                    5/ 18/2005          2,403,592
                      8/5/2005          1,391,099
                    12/30/2005          2,239,667
                    3/10/2006           1,942,521
                      8/3/2007          2,355,709
                      8/6 /2007         2,269,254




                                                    86 .

                 In fact, TASER had such a large and persistent number of fails to deliver

that it was on the threshold security list the first 379 trading days after the original

list was published in January 2005 . Defendants' pattern of failing to deliver

TASER's shares for proper settlement continued on virtually a daily basis through

July 2008.

                                                    87 .

                 The consistent presence of "fails" vastly in excess of the threshold minimum

demonstrates that the defendants have simply made no real, legitimate effort to

borrow or otherwise obtain TASER stock when facilitating or engaging in short

sales . Instead, defendants - conspiring to violate securities laws, and agreeing to

violate the requirement that they de liver actual shares by the three-day settl ement


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date -have chosen to short sell TASER stock with no intention of ever obtaining

that stock and delivering it to the DTCC .

                                                 88 .

              Defendants also turned a blind eye to other defendants' illegal short-selling

activities . Throughout the five-year period that defendants were failing to deliver

TASER securities, there was a lack of supply of TASER shares to be borrowed or

loaned for short selling in the public marketplace . Despite being aware of this fact,

defendants engaged in a pattern of permitting, facilitating or engaging in unlawful

and manipulative abusive naked short sales of TASER securities . These activities

included not only executing unlawful short sales, but facilitating and aiding and

abetting those sales by other defendants through, among other things, failing to

locate or have reasonable grounds to believe that it could borrow or obtain

securities for delivery by the settlement date, giving false or sham locates,

mismarking tickets, failing to conduct buy ins and facilitating, permitting and/or

engaging in conversions, reverse conversions, flips and/or flex options .

                                                 89.

              Defendants permitted their clients with a history of failing to deliver (or

otherwise acting unlawfully) to engage in short sales of TASER and other

securities without reasonable grounds to believe the client could deliver the

security .


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                                              90 .

             Throughout this time period, defendants took unlawful steps to conceal their

illegal conduct through derivative swap contracts, conversions, reverse

conversions, swaps, "exits" from CNS, wash trades, option contracts and other

derivatives, moving fails out of the DTCC system without delivering shares for

settlement, intracompany loans and other intracompany transactions, inter-

subsidiary transactions, offshore trading that concealed short sales as long sales,

and improper reliance on market maker exemptions .

                                              91 .

Excessive Trading Volume For TASER Stock - Trading activity further

evidences the existence of and defendants' participation in naked short selling of

TASER stock . Indeed, an examination of daily trading volumes reveals that

TASER stock is frequently traded in excess of the outstanding shares at the time .

For example, when approximately 14 million and 28 million shares were

outstanding, daily trading volume was :

                D ate            Number of Legitimate        Number of TASER
                                    TASER shares               shares traded
                                       (approx)                  (approx)
        April 20, 2004                14,247,806                32,400,000

        April 21 , 200                 14,247,806                33,700,000

            June 25, 2004              28,321,612                42,000,000



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        June 28, 2004                28,321,612                631300,000

        June 29, 2004                28,321,612                30,200,000


When approximately 60 million shares were outstanding, trading grew to :

               D ate           Number o f Legitimate       Number of TASER
                                 TASER s har es              shares traded
                                    (approx)                   (approx)
     January 11, 2005              60,000,000                 64,700,000

     January 12, 2005                 60,000 , 000             54,800,000

     Janu ary 13, 20 0 5              60,000,000                69,900,000


                                             92 .

            The volume of trading reflected above is an extraordinarily high volume of

trading compared to the shares outstanding for any security. To compare the

magnitude of this trading, the average annual turnover rate of the shares

outstanding for a NYSE traded company from 2003 - 2006 was 1 .03 times and for

the same period the average annual turnover rate for NASDAQ listed companies

was 2 .6 times per year . For TASER, the annual turnover rate during various

periods was in excess of 100 times the outstanding shares . With stock unavailable

for borrowing in significant amounts during this period, the frenetically high

volume of trading activity is strong evidence that many trades were neither long

transactions (actual delivery of shares) nor covered short sales (where borrowing



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had been arranged in advance of the sale for delivery) . Simply put, the high

volume reflects naked short sales that the defendants either engaged in or

facilitated .

                                           93 .

The Defendants' Beneficial Trading Records Revea l Claimed Owners hip Well

In Excess of Act u a l S hares - As discussed in paragraph 8 above, the defendants

claim on their beneficial records to own TASER shares for themselves or their

clients well in excess of their actual inventory .

                                           94 .

Over Voting of TASER Stock - Additional evidence of naked short selling of

TASER stock is the excessive amount of over votes the company receives during

its annual meeting . For example, in 2005, approximately 82 million

,'shareholders" voted in conjunction with TASER's annual shareholder meeting .

But, at t h at time, t h e company ha d only authorized and i ssued 61 .1 milli on shares

and approximately 1 7.2 million shares were short . Even if all of the TASER

shares that were sold short were able to vote, the total number of votes-would still

only be 78 .3 million (61 .1 million shares outstanding + 17 .2 million short shares) .

The fact that 82 m i llion votes were received - 3 .7 million more than the

outstanding shares plus all shorted shares -indicates that there were at least 3 .7




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million shares (82 million - 78 .3 million) that were undoubtedly counterfeit .

Those shares substantially dilute the value of legitimate TASER shares.

                                                 95 .

               Defendants also acted improperly, unlawfully and illegally to the extent they

acted as purported market makers and/or options market makers in TASER and

other securities and to the extent they unlawfully allowed their clients to claim the

bona fide market maker or options market maker exception . Defendants, as market

makers and otherwise, have a duty to protect investors and issuers of stock from

fraud and to protect the integrity of the self-regulated marketplace . Because of

their positions as gatekeepers to the public markets, defendants have a

responsibility to ascertain that they are not selling unregistered securities.

Defendants also had a duty to inquire about, report and, where appropriate, prevent

suspicious activity in the trading of TASER and other publicly traded securities .

At a minimum, defendan ts were not permitted to allow fac ilitate and/or engage in

trading that they knew was improper ."




" See, e .g., SEC Press Release August 5, 1999 ("The Commission's Order finds
that Bear Steams took actions that directly facilitated Baron's widespread
fraudulent activity . A firm's status as a clearing broker does not immunize it from
the consequences of participating in a fraud . To the contrary, a clearing firs, or
any other market participant, that engages in conduct enabling a boiler room like
Baron to defraud investors or millions of dollars is fully responsible for its
actions .").

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                                              96.

            Moreover, defendants' illegal short selling activity is not limited to TASER

securities, but rather is part of a pattern of unlawful and improper conduct of illegal

naked short selling which includes improper transactions of the nature described

above in the securities of other companies . See, e.g., SEC v . Goldman Sachs

Execution & Clearing, L .P., File No. 3-12590 (2007) ; Goldman Sachs Execution &

Clearing, L.P . f/k/a Spear, Leeds & Kellogg, L .P., NYSE Hearing Board Decision :

07-033, March 14, 2007 ; NASD Fines Morgan Stanley Firms $2 .9 Million for

Widespread Violations of NASD Rules Number and Scope of Violations Indicate

Extensive Reporting Problems at Both Firms, NASD NTM Disciplinary Actions

October 2006 ; In The Matter of Morgan Stanley & Co ., Inc ., Case Nos. 05-185

(AMEX March 13, 2007) .

            F.     The Defenda nts' Na ked S hort Sell ing Has Injured Plaintiffs

                                              97.

            The defendants' unlawful conduct, described in part above, has and

continues to cause legitimate TASER shareholders, like plaintiffs, harm . In

particular, the defendants' persistent and unlawful naked short selling has resulted

in the creation and circulation of tens of millions of artificial and/or counterfeit

TASER shares, which dilute the value of legitimate, authorized TASER stock, and


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thereby artificially depress the stock price . In addition, the counterfeit TASER

shares deprive legitimate, authorized TASER shareholders of the economic trading

value and their voting and other stock rights . The defendants' unlawful conduct

has also created uncertainty in the market regarding the integrity of TASER stock,

causing further stock price depression . Finally, the defendants' unlawful conduct

has harmed TASER by, among other things, electronically issuing TASER treasury

shares without authorization or compensation to TASER, limiting TASER's access

to capital, lowering its market capitalization, damaging its perception in the market

and making it more difficult for the company to expand and/or merge .

                                                  98,

                 While plaintiffs have been harmed by the defendants' unlawful conduct, the

defendants have and continue to reap enormous illicit profits . As described above,

the defendants have reaped illicit profits through, among other things, charging

fees and interest for "loans" of TASER stock that are never made, obtaining

greater profits on their own proprietary short sales and charging transaction fees

for trades that could not lawfully be accomplished .




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                                           COUNT ONE

                 (Conspiracy and Endeavor to Violate § 16-14-4(a) of the Georgia
                      Racketeer Influenced and Corrupt Organization Act,
                              in Violation of O .C.G.A. § 16-14-4(c))

                                                 99.

               Paragraphs I through 98 are incorporated by reference as if set forth fully

herein.

                                                 100.

               The defendants, together with others presently known and unknown to the

plaintiffs, conspired and endeavored to violate O . C .G.A . § 16-14-4(a) with the

object of obtaining personal property, including but not limited to money, directly

and indirectly, through a pattern of racketeering activity, in violation of O .C.G.A .

16-14-4(c) . Defendants have also aided and abetted each other in the conspiracy .

                               The Pattern of Racketeer ing Activi ty

                                                 101 .

               Achieving the object of the conspiracy and endeavor contemplated and

required the commission, attempt to commit, or solicitation of more than two

related acts of racketeering activity by each conspirator . Defendants committed,

attempted to commit, aided andd abetted, solicited, or engaged in numerous related

acts of racketeering activity during the course of the conspiracy and endeavor and


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those acts of racketeering activity proximately caused injury to the plaintiffs . The

acts of racketeering activity include, but are not limited to, those set forth below .

                    a. Securities Fraud (O.C.G.A. § 10-5-24)

                                             102.

            Plaintiffs are purchasers of TASER stock . The plaintiffs either purchased

their shares of TASER stock through brokers located in Georgia, initiated their

purchases of TASER stock in Georgia, maintained their TASER stock, either

personally or through a broker, in Georgia, suffered damage in Georgia or the

conduct described below took place, in whole or in part, in Georgia . All or

virtually all of the plaintiffs' purchases of TASER stock were made in the United

States .

                                             103 .

            The market for TASER stock is an efficient market . Both the market and the

plaintiffs have relied upon the assumption of a market for TASER stock that was

free from manipulation.

                                             104.

            Some of the facts relating to the defendants' scheme and conspiracy to

violate the securities laws and/or intentionally manipulate the market in TASER

stock are known only to the defendants and uniquely in their possession .




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                                               105 .

             Each defendant has willfully violated, attempted to violate, aided and

abetted, solicited another to willfully violate, or has engaged in acts involving

violations of the Georgia Securities Act of 1973 . This conduct violated O .C .G.A.

§ 10-5-24(a).

                                               106 .

             The defendants' violations of O .C .G.A . § 10-5-24(a) constitute racketeering

activity pursuant to O .C .G .A. § 16-14-3(9)(A)(xxi) .

                                               107.

             By knowingly and intentionally engaging in the conduct described in this

Complaint, including the Conduct at Issue (e .g., selling TASER stock short at

times when they neither possessed nor intended on obtaining TAKER stock to

deliver by the settlement date), the defendants have counterfeited and sold TASER

stock that is not properly authorized, issued or registered in violation of, inter olio,

O.C.G.A . §§ 10-5-5, 10-5- 1 2.

                                               108 .

             Further, by knowingly and intentionally engaging in the conduct described

in this Complaint, including the Conduct at Issue (e .g., selling TASER stock short

when they neither possessed nor intended to obtain TASER stock for delivery by


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the settlement date), defendants made and continue to make, attempted to make,

solicited, and aided and abetted an "untrue statement of a material fact or omitting

to state a material fact necessary in order to make the statements made, in light of

the circumstances under which they are made, not misleading ." See, e.g.,

O .C .G.A . § 10-5-12 . Indeed, the SEC has expressly noted that naked short selling

involves the omission of a material fact :

              Inherent in the relationship between a dealer and his customer is the vital
              representation that the customer will be dealt with fairly, and in accordance
              with the standards of the profession . Duker & Duker, 6 SEC 386, 388
              (1939) . At a minimum, he represents that he will act in accordance with
              reasonable trade custom . Trade custom requires a dealer to consummate
              transactions with customers promptly, and in every transaction an implied
              representation to this effect is made, unless there is a clear understanding to
              the contrary . If a dealer int ends not to consummate a transaction
              promptly, a nd fa ils to disclose this intention to hi s c u stomer, he omits to
              state to that customer a material fact n eces s ary to mak e the above
              representation not mis leading, in violation of the anti-fraud provisions of
              the Securities Act and the Exchange Act .

Lewis H. Ankeny, 29 SEC 514, at p . 516 (emphasis added) .


                                                 109 .

              The defendants, upon information and belief, have engaged in short sale

transactions of TASER stock in their own proprietary accounts . At the same time,

the defendants have created, loaned and sold counterfeit TASER stock in an effort

to manipulate the market for that stock, depress the stock's price and/or reap illicit

profits from their short sales knowing that there conduct would depress TASER's


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price . Such conduct constitutes a "deceptive or fraudulent device, scheme or

artifice to manipulate the market in a security," in violation of, inter alia, O .C.G.A.

§ 10-5-12(d)(6) .

                                              110 .

             The defendants have and continue to make phantom loans of TASER stock

to facilitate short sale transactions . Those phantom loans constitute, inter alia, a

"device, scheme or artifice to defraud in connection with an offer to sell, sale, offer

to purchase or purchase of any security, directly or indirectly," a "deceptive or

fraudulent device, scheme or artifice to manipulate the market in a security" and

"an act, practice or course of business that operates or would operate as a fraud or

deceit upon a person" in violation of O .C .G.A. § 10-5-12.

                                              111 .

             Each defendant also committed, attempted to commit, aided and abetted,

solicited another to commit, or engaged in acts involving violations of O .C .G.A . §

10-5-24 in at least the following ways :

             (a) Willfully employing a device, scheme or artifice to defraud in

connection with an offer to sell, sale, offer to purchase or purchase of any security,

directly or indirectly ;

             (b) Willfully engaging in an act, practice or course of business that

operates or would operate as a fraud or deceit upon a person ;


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               (c) Willfully effecting a transaction in a security which involves no

change in the beneficial ownership of the security for the purpose of creating a

false or misleading appearance of active trading in a security or with respect to the

market for a security ; and/or

               (d) Willfully misappropriating, converting or improperly withholding any

funds or other property in connection with an offer or sale of any security .

                          b . Securities Fraud (15 U .S.C . § 78j,
                          Reg SHO, Rule 1 Sc3-3, and Rule lOb-5)

                                                11 2 .

               Plaintiffs are purchasers of TASER stock . The plaintiffs either purchased

their shares of TASER stock through brokers located in Georgia, initiated their

purchases of TASER stock in Georgia, maintained their TASER stock, either

personally or through a broker, in Georgia, suffered damage in Georgia or the

conduct described below took place, in whole or in part, in Georgia . All or

virtually all of the plaintiffs' purchases of TASER stock were made in the United

States.

                                                113.

               The market for TASER stock is an efficient market . Both the market and the

plaintiffs have relied upon the assumption that the market for TASER stock was

free from manipulation.



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                                               114.

            Some of the facts relating to the defendants' scheme and conspiracy to

commit securities fraud and/or intentionally manipulate the market in TASER

stock are known only to the defendants and uniquely in their possession .

                                               115 .

            By directly or indirectly effecting a short sale of one or more securities

registered on a national securities exchange by the use of the means or

instrumentality of interstate commerce, the mails, or of any national securities

exchange, in contravention of rules and regulations prescribed by the Securities

and Exchange Commission, including, but not limited to, Regulation SHE, 1 7

C.F .R . § 212 .203 ; Rule 15c3-3, 17 C.F.R. § 240 .15c3-3 ; and Rule IOb-5, 17 C .F .R.

   240 .1 Ob-5, each defendant has willfully violated, attempted to violate, aided and

abetted, solicited another to willfully violate, or has engaged in acts involving

violations of the Securities and Exchange Act of 1934, as amended . See I S U .S .C .




                                               1 16 .

            Defendants have effected short sales of stock in violation of, inter olio,

Regulation SHO, Rule 15c3-3, Rule I Qb-5, and 15 U .S .C . § 78j (a)(1), by engaging




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in the Conduct at Issue in this case, including, but not limited to, in at least the

following ways :

             (a) Knowingly and intentionally short selling securities of TASER and

the securities of other publicly traded corporations when they neither possessed nor

intended to obtain stock for delivery by the settlement date ;

             (b) Knowingly and intentionally providing or relying on a false, fictitious,

illegitimate, or inaccurate locates/affirmative determinations when the defendant

does not have reasonable grounds to believe that the security can be borrowed or

delivered on the date it is due, or failing to obtain locates or affirmative

determinations altogether ;

             (c) Knowingly and intentionally failing to deliver securities by the

settlement date including ( 1 ) falls in the CNS system and (2) ex-clearing fails ;

             (d) Knowingly and intentionally concealing short-sale transactions or

violations of Regulation SHO, Rule 15c3-3, Rule lOb-5, and 15 U .S .C . § 78j(a)(1)

by, among other things, mismarking order tickets, using derivative swap contracts ;

using "exits" from CNS, conversions or reverse conversions, flex options, flips or

flipping; using pre-arranged washed and matched trading in order to appear to have

covered short sales and restart settlement dates for fail to deliver positions ;

engaging in intro company transactions, including transactions with offshore

entities; engaging in transactions with prime brokered hedge fund clients, both


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onshore and offshore ; and relying on the bona fide market-maker exemption when

it does not apply ;

               (e) Knowingly and intentionally concealing failure-to-deliver positions,

including but not limited to, moving fails out of the DTCC system without

delivering shares for settlement and engaging in intra-company or

affiliate/subsidiary flips, loans and other transact i ons including transactions with

offshore entities ;

               (f)   Knowingly and intentionally concealing a fail to deliver position by

making the appearance that like kind or quantity of securities were purchased to

close-out the fail, thus restarting the settlement date of the fail to deliver position,

               (g) Knowingly and intentionally charging clients, customer, banks or

others fees, commissions and/or interest for "loaning" securities that the defendant

never loaned ;

               (h) Knowingly and intentionally permitting a pattern of allowing failure

to deliver or receive positions from the same counterparty or for the same

customers/clients ;

               (i) Knowingly and intentionally failing to conduct or request buy-ins

from clients or counterparties ;




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              (}) Knowingly and intentionally continuing to accept, permit or facilitate

short sales or other transactions (e.g., flex options, conversions) for a customer or a

prime broker that has failed to deliver on numerous occasions ;

              (k) Knowingly and intentionally continuing to accept, permit or facilitate

short sales of a stock that has repeated net failures to deliver or receive ;

              (j) Knowingly and intentionally permitting, facilitating and/or engaging

conversion, reverse conversion, flex option or other transactions that they knew

wer e unl awful ;

              (m) Knowingly and intentionally permitting, facilitating and/or engaging

in transactions with customers /clients that it knew intended on violating or

circumventing the law ;

              (n) Knowingly and intentionally (for themselves and/or their clients)

relying on the bona fide market maker and bona fide option market maker

exceptions when they did not apply ;

              (o) Knowingly and intentionally permitting, facilitating and/or engaging

in transactions where they knew that stock would not be borrowed and/or delivered

because of a negative rate (i .e ., it would cost money to borrow the stock) ; and

              (p) Knowingly and intentionally engaging in the other Conduct at Issue as

described in Exhibit A to the parties' Stipulation and Order dated May 6, 2010 .




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                                               117.

            This conduct violated 1S U .S.C. § 78j(a)( 1 ).

                                               118 .

            The defendants' violations and acts involving violations of 1 5 U.S .C. §

78j(a)(1) constitute racketeering activity pursuant to O .C .G.A . § 16-14-

3(9)(A)(xxix) and O .C.G .A. § 16-14-3(9) (B) .

                                               1 1 9.

            Further, by knowingly and intentionally engaging in the Conduct at Issue in

this case, including but not limited to, short selling securities of TASER and the

securities of other publicly traded corporations when they neither possessed nor

intended to obtain stock for delivery by the settlement date, defendants made and

continue to make, attempted to make, solicited, and aided and abetted a

"manlpulative or deceptive device or contrivance," in contravention of rules and

regulations prescribed by the Securities and Exchange Commission as necessary or

appropriate in the public interest or for the protection of investors, including, but

not limited to, Regulation SHO, Rule 15c3-3, and Rule lOb-5 . This conduct

violated 15 U .S .C . § 78j(b) .




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                                                 120 .

              The defendants' violations and acts involving violations of 15 U .S .C .

78j(b) constitute racketeering activity pursuant to O .C.G.A . § 16-14-3(9)(A)(xxix)

and O.C .G .A. § 16-14-3(9) (B) .


              c.    Theft By Taking (O.C.G.A. § 16-8-2)

                                                 121 .

              Each defendant committed, attempted to commit, aided and abetted,

solicited another to commit, or engaged in acts involving theft by taking of the

property of TASER and TASER shareholders, including plaintiffs .

                                                 122.

              The defendants' vio la ti ons of O .C.G.A . § 16-8-2 constitute racke teering

activity pursuant to O .C.G.A . § 16-14-3(9)(ix) .

                                                 123 .

              The defendants unlawfully took the property of others, including plaintiffs,

with the intention of depriving them of that property.

                                                 1 24 .

              TASER is the sole, original, legitimate source for shares of TAKER stock ..




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                                             125 .

             Only TASER can decide to offer additional shares of TASER stock into the

marketplace .

                                             126.

             TASER's stock has value, and when TASER has introduced shares of its

stock into the marketplace as part of a public offering, it has been paid for the

shares of its stock that were sold in connection with the offering .

                                             127.

             As the sole, original, legitimate source of shares of TASER stock, TASER

has the right to decide whether to offer additional shares of TASER stock into the

marketplace, when to do so, and the price at which they will be offered .

                                             1 28 .

             Because shares of TASER stock represent an ownership interest in the

company, no one other than TASER has the right to offer additional shares of

TASER stock into the marketplace .

                                             129.

             Defendants took, in whole or in part, shares of TASER stock, which TASER

had not issued or authorized to be issued, and for which TASER was never paid .

This misconduct deprived TASER of the right of exclusive possession and control


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over its property and deprived it of any financial benefit from the introduction of

its shares into the marketplace .

                                                 130 .

              The individual plaintiffs had a property interest in their authorized, issued

shares of TASER stock and the rights appertaining thereto within the meaning of

O . C.G . A. § 16-8-1(3).

                                                 131 .

              Because at any point in time there is a finite universe of authorized and

issued TASER shares, when the defendants created artificial/counterfeit shares of

TASER through naked short sales, they necessarily took from each legitimate

owner of authorized and issued TASER stock an amount proportionate to the

amount of artificial TASER shares they created . Georgia law prohibits the

unlawful taking of property, regardless of the manner in which the property i s

taken or appropriated .

                                                 132 .

              As part of the pattern of racketeering activity, the defendants also engaged in

theft by taking by purporting to loan short sellers TASER stock that the defendants

neither owned nor had any intention of obtaining . The defendants then charged

short sellers fees for these sham "loans" of stock which the defendants did not

own, did not intend to obtain and never did obtain .


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              d. Theft By Deception (Q .C.G.A. § 1(-8-3)

                                                133 .

              Each defendant committed, attempted to commit, aided and abetted,

solicited another to commit, or engaged in acts involving theft by deception by

obtaining property by deceitful means and artful practices with the intention of

depriving the owners of their property .

                                                134.

              The defendants' violations of O .C .G.A . § 16-8-3 constitute racketeering

activity pursuant to O .C .G.A . § 16-14-3(9)(ix).

                                                135.

              The defendants created or confirmed the impression that they had shares of

TASER stock available to loan to short sellers when they knew that was not in fact

the case.

                                                1 36.

              The defendants charged fees to short sellers of TASER stock for the

purported loans of TASER stock when in fact the defendants did not have TASER

stock available to loan, did not intend to obtain TASER stock for purpose of

making the loan, and, in many instances, knew there were not authorized and

issued shares of TASER stock available to them for purposes of making purported

loans .



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                                                137.

              The defendants also failed to correct false impressions of existing facts

which they had previously created or confirmed . Specifically, defendants failed to

inform persons who wished to borrow TASER stock from the defendants that the

defendants did not have TASER stock available to loan, did not intend to obtain

TASER stock for the purpose of loaning and, in many instances, could not have

obtained TASER stock for purposes of making a loan of that stock even if they had

attempted to do so .

                                                138.

              The defendants also sold or otherwise transferred property consisting of

shares of TASER stock created as a consequence of naked short sales while

intentionally failing to disclose the fact that there were legal impediments to the

enjoyment of that property . Those legal impediments included the fact that

TASER stock purportedly sold by the defendants did not actually exist as

authorized issued shares of TASER stock .

                                                1 39 .

              The defendants also promised to perform services which they did not intend

to perform and knew would not actually be performed . These services included

lending shares of TASER stock which the defendants did not actually possess, did




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not intend to obtain and, in many instances, knew could not have been obtained

even if the defendants had attempted to do so .

              e. Violation of The Georgia Computer Systems Protection Act
                   (O.C .G.A. § 16-9-93)
                                                1 40.

              Each defendant has violated, attempted to violate, aided and abetted, or

solicited another to violate the Georgia Computer Systems Protection Act .

                                                141 .

              In the course of engaging in naked short selling, the defendants have used

computers, computer networks and electronic data to create, loan and sell

counterfeit TASER stock. The defendants have also created and/or altered

electronic forms and data to falsely indicate their and their clients' level and type

of ownership of TASER stock . For example, the defendants have provided

inaccurate and false reports on their electronic blue sheets (i .e., Responses to

Request by the SEC) regarding the identity of an account holder for whom specific

trades were executed and whether transactions were buys or sales, or longs or

shorts.

                                                142 .

              Among other things, the defendants have created, altered or deleted data in a

computer or Computer network in a manner such that if such creation, alteration or

deletion occurred with respect to a tangible document, it would constitute forgery .


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                                                143.

              The defendants have also used a computer to take or appropriate the

property of another, obtained property through deceitful means or artful practice

and/or converted property in violation of an agreement or other known legal

obligation to make a specified application or disposition of such property, in

violation of Q .C .G.A. § 1 6-9-93(a) or O. C . G . A. § 16- 9- 93(d) . In addit ion to t he

conduct alleged above, the deceitful means and artful practice employed by the

defendants also include, but are not limited to:

              (i) Engaging in short sales of TASER stock while knowing that they did not

              own, nor had any intention of obtaining TASER stock by the settlement

              date, if ever;

              (ii) Facilitating short sales of TASER stock for clients while knowing that

              they did not own, nor had any intention of obtaining TASER stock by the

              settlement date, if ever ; and

              (iii) Claiming to loan TASER stock to clients and others for the purpose of

              facilitating short sales while knowing they did not own, nor had any

              intention of obtaining, sufficient TASER stock to cover those loans .

                                                144 .

              The defendants' violations of O .C .G.A. § 1 6-9-93 constitute racketeering

activi ty pursuant to O.C.G.A. § 16-14-3(9)(A)(xxviii).


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                f. Perjury (O.C.G.A. § 16-14-70) "

                                                  145.

                Each defendant committed, attempted to commit, aided and abetted, or

solicited another to commit perjury in violation of O .C.G .A . § 16-10-70 .

                                                  146 .

                Perjury constitutes racketeering activity under O .C.G.A . § 16-14-

3(9)(A)(xv).

                                                  1 47 .

                Each defendant committed the offense of perjury in this lawsuit by

knowingly and willfully making false statements material to the issues or points in

question while under oath in a judicial proceeding .

                                                  148 .

                Specifically, each defendant verified Interrogatory Responses in this lawsuit

regarding the Conduct at Issue in this case that were false, including, but not

limited to, the false statement identified below . Defendants have continued to give

false answers under oath to frustrate and prevent discovery of the true facts .




' g For purposes of this section only, which alleges that Defendants committed acts
of racketeering by committing perjury in this lawsuit, Plaintiffs define "each
Defendant" as including all Defendants except Merrily Lynch Professional Clearing
Corporation, which is identified as a John Doe I in this Seventh Amended
Complaint and which was not previously named as a party to this lawsuit .
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                                                1 49 .

              For example, plaintiffs' Second Interrogatory No . 5(i) sought identification

of each instance in which each Defendant failed to close out open fails that have

persisted in violation of any rules or regulations . Each defendant, through an

authorized representative, responded to this Interrogatory by falsely stating, under

oath, that it had disclosed all known instances in which it failed to close out open

fails that have persisted in violation of rules or regulations :

                 a. Defendant Bane of America Securities LLC falsely stated that it "is

                    not aware of any instance in which it failed to dose out an open fail

                    position in violation of any applicable law or regulation ."

                 b. Defendant Bear, Steams & Co . Inc. and defendant Bear, Steams

                    Securities Corp, falsely stated that they were "not aware of any

                    instance in which they failed to close out an open fail position in

                    common stock in violation of any applicable law or regulation ."

                 c . Defendant Credit Suisse Securities (USA) LLC falsely stated that it

                    had disclosed all known instances where it had knowingly failed to

                    close out an open fail position in common stock in violation of an

                    applicable law or regulation .




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            d. Defendant Deutsche Bank Securities, Inc . falsely stated that it had

               disclosed all known instances where it had knowingly failed to close

               out an open fail position in common stock in violation of an

               applicable law or regulation .

            e. Defendant Goldman, Sacks & Co .'s and defendant Goldman Sacks

               Execution & Clearing, L .P. falsely stated that they had disclosed all

               known instances where they had knowingly failed to close out an

               open fail position in common stock in violation of an applicable law

               or regulation .

            f. Defendant Merrill Lynch, Pierce, Fenner & Smith Inc . falsely stated

               that it had disclosed all known instances where it had knowingly

               failed to close out an open fail position in common stock in violation

               of an applicable law or regulation.

            g. Defendant Morgan Stanley & Co . falsely stated that it had disclosed

               all known instances where it had knowingly failed to close out an

               open fail position in common stock in violation of an applicable law

               or regulation .

            h . Defendant UBS Securities, LLC falsely stated that it was "not

               currently aware of any instance in which it failed to close out an open




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                  fail position in any stock in violation of any applicable rule or

                  regulation ."

                                               150 .

            Similarly, Plaintiffs' Second Interrogatory No . 5(j) sought identification of

each instance in which each defendant failed to deliver shares in violation of its

internal rules and regulations, including those identified and described in its

applicable compliance manual(s) . Each defendant responded to this Interrogatory,

through an authorized representative, by falsely stating, under oath, that it had

disclosed all known instances in which it failed to deliver stock in violation of its

internal rules and regulations :

               a. Defendant Banc of America Securities LLC falsely stated that "it is

                  not aware of any instance in which it failed to deliver shares in

                  violation of its own internal rules and policies ."

               b. Defendant Bear, Steams & Co . Inc . and defendant Bear, Steams

                  Securities Corp. falsely stated that they were "not aware of any

                  instance in which they failed to deliver shares of common stock in

                  violation of their own internal rules and policies ."

               c . Defendant Credit Suisse Securities (USA) LLC falsely stated that it

                  was "not aware of any instance in which it failed to deliver shares of

                  common stock in violation of its own internal rules and policies ."


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                 d . Defendant Deutsche Bank Securities, Inc . falsely stated that it had

                    disclosed all known instances where it had knowingly failed to deliver

                    shares of stock in violation of its own internal rules and policies .

                 e. Defendant Goldman, Sachs & Co .'s and defendant Goldman Sachs

                    Execution & Clearing, L .P . falsely stated that it had disclosed all

                    known instances where it had knowingly failed to deliver shares of

                    stock in violation of its own internal rules and policies .

                 f. Defendant Merrill Lynch, Pierce, Fenner & Smith Inc . falsely stated

                    that it had disclosed all known instances where it had knowingly

                    failed to deli ver s hares of s tock in vi o lation of its own internal rules

                    and policies .

                 g . Defendant Morgan Stanley & Co . falsely stated that it had disclosed

                    all known instances where it had knowingly failed to deliver shares of

                    stock in violation of its own internal rules and policies .

                 h. Defendant UBS Securities, LLC falsely stated that it was "not

                    currently aware of any instance in which it failed to deliver shares of

                    any stock in violation of its own internal rules and policies ."




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                                              151 .

            Each of defendant's false responses to Plaintiffs' Second Interrogatory No .

5(i) and 5(j) was verified under oath by a corporate representative, acting in his or

her capacity as an authorized representative of a defendant :

               a. Defendant Bane of America Securities LLC's false response to

                  plaintiffs' Second Interrogatory No . 5 was verified under oath by Shea

                  Z. Wallop, acting in his capacity as an authorized representative of

                  defendant Banc of America Securities LLC, on June 3, 2010 .

               b . Defendant Bear, Steams & Co . Inc.'s and defendant Bear, Steams

                  Securities Corp .'s false response to plaintiffs' Second Interrogatory

                  No. 5 was verified under oathh by Gabriel Loubier, acting in his

                  capacity as an authorized representative of defendant Bear, Steams &

                  Co . Inc . and defendant Bear, Steams Securities Corp ., on June 3,

                  2010 .

               c . Defendant Credit Suisse Securities (USA) LLC's false response to

                  plaintiffs' Second Interrogatory No . 5 was verified under oath by John

                  Fisher, acting in his capacity as an authorized representative of

                  defendant Credit Suisse Securities (USA) LLC, on June 1, 2010 .

               d. Defendant Deutsche Bank Securities, Inc .'s false response to

                  plaintiffs' Second Interrogatory No . 5 was verified under oath by Paul


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               D . Bray, acting in his capacity as an authorized representative of

               defendant Deutsche Bank Securities, inc ., on June 1, 201 0.

             e. Defendant Goldman, Sachs & Co .'s and defendant Goldman Sachs

               Execution & Clearing, L .P.'s false response to plaintiffs' Second

                Interrogatory No . 5 was verified under oath by Christina Schulz,

                acting in her capacity as an authorized representative of defendant

                Goldman, Sachs & Co . and defendant Goldman Sachs Execution &

                Clearing, L .P., on June 1, 2010 .

             f. Defendant Merrill Lynch, Pierce, Fenner & Smith enc .'s false

                response to plaintiffs' Second Interrogatory No . 5 was verified under

                oath by Joseph Mastrianni, acting in his capacity as an authorized

                representative of defendant Merrill Lynch, Pierce, Fenner & Smith

                Inc ., on June 3, 2010 .

             g. Defendant Morgan Stanley & Co .'s false response to plaintiffs'

                Second Interrogatory No . 5 was verified under oath by Larry

                Hammond, acting in his capacity as an authorized representative of

                defendant Morgan Stanley & Co ., on June 4, 2010 .

             h . Defendant UBS Securities, LLC's false response to plaintiffs' Second

                Interrogatory No . 5 was verified under oath by Laurie Ingram, acting




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                   in her capacity as an authorized representative of Defendant UBS

                   Securities, LLC, on June 1, 2010 .

                                               152.

             As another example, plaintiffs' Third Interrogatory No . I to defendant

Deutsche Bank Securities, Inc, sought identification of every informal or informal

examination, inquiry or investigation of it by any agency, regulatory body or SRO

(including but not limited to NASDAQ, FINRA, SEC, NYSE, ARCA, OBOE, any

options trading board or similar self-regulatory agency) related to the Conduct at

Issue whether or not specifically related to TASER securities . Defendant Deutsche

Bank Securities, Inc . responded to this Interrogatory by falsely stating that it had

disclosed all known informal or informal examinations, inquiries or investigations

of it by federal agencies and SROs, when it had not in fact disclosed all such

known instances . In fact, defendant Deutsche Bank Securities, Inc . did not

originally identify a three-year investigation by FINRA concerning the conduct at

issue in this case, which resulted in defendant Deutsche Bank Securities, Inc .

consenting to an Acceptance, Waiver, and Consent order (FINRA No .

20080144505) .

                                               153 .

             Defendant Deutsche Bank Securities, Inc .'s false response to Plaintiffs'

Third Interrogatory No. I was verified under oath by Anthony J . Bosco, acting in


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his capacity of an authorized representative of defendant Deutsche Bank Securities,

Inc., on May 10, 2010 .

                                                154.

              Each defendant's false statements under oath were made with the intention

of concealing the Conduct at Issue in this case and with the ultimate aim of

financial benefit to each defendant.

                   R e lations hip B etwee n The Ac t s o f Racketeering Activity

                                                155 .

              The acts of racketeering activity committed by defendants are related in that

they all involve transactions or purported transactions in or effecting publicly

traded securities including TASER stock .

                                                156.

              The acts of racketeering activity committed by defendants have the same or

similar intents in that they sought to obtain property, including but not limited to

money, for defendants through illegal means .

                                                157.

              The acts of racketeering activity committed by the defendants have the same

or similar results, in that defendants actually obtained personal property, including

but not limited to money, through illegal means .




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                                                158 .

               The acts of racketeering activity committed by defendants have the same or

similar victims, including TASER shareholders, who have been victimized by

defendants' conspiracy to manipulate the market in TASER stock through

deceptive or fraudulent schemes or artifices .

                                                 159.

               The acts of racketeering activity committed by defendants have the same or

similar methods of commission in that they involve the manipulation of the market

in TASER stock in furtherance of a scheme to obtain personal property, including

but not limited to money, through illegal means .

                                                 160 .

               The acts of racketeering activity committed by defendants are interrelated by

distinguishing characteristics and are not isolated incidents . The acts involve the

same or similar methods of commission, the same or similar benefits to the

defendants and the same or similar efforts to conceal the defendants' misconduct .




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    Injuries To Plaintiffs Proximately Caused By Defendants' RICO Violations

                                                   161 .

                Defendants' behavior targeted TASER, its stock and its shareholders .

Plaintiffs' injuries flow directly from defendants' acts of racketeering activity that

constitute part of the pattern of racketeering activity.

                                                   162 .

                Plaintiffs have been injured by reason of the defendants' violation of

O .C .G.A. § 16-14-4(c) and are entitled to recover three times the actual damages

sustained .

                                                   163 .

                Pursuant to O .C.G .A. § 16-14-6(c), plaintiffs are also entitled to recover

their attorneys' fees in the trial and appellate courts, and their costs of investigation

and litigation reasonably incurred .

                                             COUNT TWO
                              (Violation of the Georgia Securities Act)

                                                   164 .

                Paragraphs 1 through 163 are incorporated by reference as if set forth fully

herein.

                                                   165.

                Plaintiffs are purchasers of TASER stock . Many of the plaintiffs either

purchased their shares of TASER stock through brokers located in Georgia,

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initiated their purchases of TASER stock in Georgia or maintained their TASER

stock, either personally or through a broker, in Georgia .

                                               166.

             The market for TASER stock is an efficient market . Both the market and the

plaintiffs have relied upon the assumption of a market for TASER stock that was

free from manipulation .

                                               167.

             Some of the facts relating to the defendants' scheme and conspiracy to

intentionally manipulate the market in TASER stock are known only to the

defendants and uniquely in their possession .

                                               168.

             The defendants' violations of the Georgia Securities Act have proximately

caused plaintiffs injury, including, but not limited to, (i) lost value of the stock ; (ii)

impairment of non-monetary rights ; and (iii) interference with the ordinary and

intended operation of those rights.

                                     COUNT THREE
                (Violation of the Georgia Computer Systems Protection Act)

                                               1 69.

             Paragraphs 1 through 168 are incorporated by reference as if set forth fully

herein.



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                                              170 .

            The defendants' violation of the Georgia Computer Systems Protection Act

has proximately caused plaintiffs injury, including, but not limited to, (i) lost value

of the stock ; (ii) impairment of non-monetary rights ; and (iii) interference with the

ordinary and intended operation of those rights .

                                       COUNT FOUR
                                        (Conversion)

                                              171 .

            Paragraphs I through 170 are incorporated by reference as if set forth fully

herein.

                                              172.

            Plaintiffs own or owned personal property in the form of TASER common

stock and the rights attaching to the ownership of that stock, including but not

limited to the right to participate in the ownership and control of TASER . Plaintiff

TASER owns property in TASER, including the ability to create and issue stock in

TASER to raise funds and the ability to exercise control and ownership over

TASER.

                                              173 .

            Through the unlawful conduct described above, the defendants have

committed an unauthorized assumption and exercise of the right of ownership over

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personal property (i.e., TASER stock) belonging to plaintiffs, and have unlawfully

appropriated it . The defendants have also substantially and wrongfully interfered

with the plaintiffs' right to possession of their property. Defendants converted the

plaintiffs' TASER stock and interest in the rights relating to the ownership of that

stock or company to their own use or for others' use .

                                                 174 .

               The defendants' unlawful conversion of plaintiffs' TASER stock has

proximately caused them injury, including, but not limited to, (i) lost value of the

stock; (ii) impairment of non-monetary rights ; and (iii) interference with the

ordinary and intended operation of those rights .

                                         C OUNT FIVE
                                    (Money Had an d Received)

                                                 175 .

               Paragraphs 1 through 174 are incorporated by reference as if set forth fully

herein .

                                                 176 .

               Through the unlawful conduct described above, the defendants have

received monies, stocks, rights, benefits, and/or securities entitlements of which

the defendants are not the true owners, and which, in equity and good conscience,

the defendants should not be permitted to keep .



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                                                177 .

              Plaintiff TASER is the true owner of monies, stocks, rights, benefits, and/or

securities entitlements received by defendants in connection with unlawful conduct

described above, including, but not limited to, the creation, issuance, and sale of

stock and/or securities entitlements in TASER that the defendants neither

legitimately owned nor had an intention of locating, receiving, or delivering to the

purchaser.

                                                1 78.

               Plaintiff TASER has made a demand for repayment of the movies, stocks,

        rights, benefits, and/or securities entitlements received by the defendants in

                      connection with the unlawful conduct described above .

                                                179.

              The defendants have refused Plaintiff TASER's demand for repayment .

                                                180.

              Plaintiff TASER is entitled to recover in legal damages from each defendant

the sum of movies, stocks, rights, benefits, and/or securities entitlements received

by that defendant of which the defendant is not the true owner, and which, in

equity and good conscience, the defendant should not be permitted to keep .




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Plaintiff TASER is also entitled to applicable interest and all other remedies

available under this claim .

                                      Punitive Damages

                                              181 .

            The defendants' actions show willful misconduct, breach of fiduciary duty,

malice, fraud, wantonness, oppression, and an entire want of care that raises the

presumption of conscious indifference to consequences and specific intent to cause

harm, entitling plaintiffs to receive punitive damages sufficient to deter, penalize or

punish defendants in light of the circumstances of the case .

                                       Prayer For Relief

WHEREFORE, Plaintiffs pray for the following relief:

            (a) Trial by jury on all issues so triable ;

            (b)   Judgment be entered in favor of plaintiffs and against defendants in

the amount to be determined by the jury at trial ;

            (c) Plaintiffs be awarded compensatory and punitive damages ;

            (d)   Plaintiffs be awarded their expenses of lit igation, including reasonable

attorneys' fees and costs ; and

            (e)   The Court award such other and further relief as the Court deems just

and appropriate under the circumstances .




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            Respectfully submitted on thi s 1 5th day of September, 20 1 0.


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                                 CERTIFICATE OF SERVICE

              I hereby certify that on this 15th day of September, 2010, a true and correct

copy of the foregoing SEVENTH AMENDED COMPLAI NT was electronically

filed with the Clerk of Court using the Court's electronic filing system which will

automatically send an email notification of such filing to the following attorneys of

record who are registered participants in the Court's electronic notice and filing

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